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                                                             THE HONORABLE JAMES L. ROBART
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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
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UNITED STATES OF AMERICA,                        )
                                                 )       Case No. 2:12-cv-01282-JLR
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                                 Plaintiff,      )       6($77/(32/,&('(3$570(17¶6
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                        v.                       )       )25&((9$/8$7,21
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CITY OF SEATTLE,                                 )       
                                                 )       
                                 Defendant.      )

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           The City respectfully submits the Seattle Police Department’s Crisis Intervention and Use

of Force Evaluation.




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    (12-CV-01282-JLR)                                                                 Seattle, WA 98104
                                                                                      (206) 684-8200
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DATED this 17th day of December, 2018.

           For the CITY OF SEATTLE

           PETER S. HOLMES
           Seattle City Attorney


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          I hereby certify that on December 17, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which sends notification of such filing to the

following counsel of record:


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           DATED this 17th day of December, 2018, at Seattle, King County, Washington.

                                                 s/ Kerala T. Cowart
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Calls for service that involve individuals in crisis fall at the intersection of public safety and
public health, are often volatile and unpredictable, and represent among the most
tactically challenging incidents to which law enforcement responds. During Phase II of the
Consent Decree, the Seattle Police Department (SPD) committed to audit SPD’s crisis
intervention systems to ensure continued compliance with SPD policies and the terms of
the Consent Decree, including an assessment of its uses of force against persons in crisis.
See Sustainment Plan, dkt. 444 at 7; see also Sustainment Matrix (Rows 100-105), dkt.
444-1 at 15. In this evaluation SPD conducts a deeper inquiry into the use of force in crisis-
involved incidents specifically. Consistent with the methodology agreed upon by the
parties, SPD accordingly provides this report as (1) a confirmation that SPD has continued
to follow the terms of the Consent Decree related to crisis intervention; (2) an analysis of
use of force in crisis-involved incidents, and (3) a qualitative review of all Type II and Type
III (serious) uses of force occurring during this study period (January 1, 2017, to June 30,
2018). The latter demonstrates that SPD has continued to put training and policies
implemented during the Consent Decree into practice during the Sustainment Period.
Specifically, SPD has taken appropriate steps to minimize the need to use force against
individuals in crisis..
Some of the data and information relied upon in this audit report come from SPD’s
October 31, 2018 Crisis Intervention Outcome Report, which detailed SPD’s responses to
the nearly 16,000 crisis-involved calls for service received over the 18-month period
between January 1, 2017 and June 30, 2018. The Crisis Intervention Outcome Report was
filed with the Court on October 31, 2018 (see dkt. 495-1), and it is also included as
Appendix A to this document. This report included data and analysis addressing Consent
Decree requirements related to crisis intervention training (Consent Decree paragraphs
130-135); staffing and deployment of CIT officers (Consent Decree paragraphs 131-132);
dispositions and outcomes of crisis calls (Consent Decree paragraph 136); and data-driven
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practices (Consent Decree paragraph 137). In addition, the Crisis Intervention Outcome
Report provided an overview of use of force in crisis incidents, while previewing that a
deeper analysis into this topic would be provided in this Evaluation.
This Evaluation Crisis Intervention and Use of Force demonstrates that the Department
has sustained compliance with the requirements in paragraphs 130-137 of the Consent
Decree.

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The data presented in the Crisis Intervention Outcome Report demonstrate compliance
with the following Consent Decree requirements:
Training:
The Consent Decree contains several requirements related to training officers in how to
safely and effectively engage individuals in crisis. See Consent Decree ¶¶ 130 & 133-35.
Paragraph 130 requires that SPD provide training in verbal tactics with the goal of
reducing the use of force against individuals in crisis. In addition, all SPD officers must
receive basic training in crisis intervention. ¶ 134. The Monitor previously approved the
content of these aspects of SPD’s crisis intervention training in 2013 (see dkt. 191 at 15-
16) and 2015 (dkt. 254 at 7-8). As detailed in the Crisis Intervention Outcome Report, the
Department continues to comply with these requirements. All officers receive at least
eight hours of annual crisis intervention training. In addition, since 2015, SPD has
continued to improve upon its training, utilizing increasingly sophisticated scenario-
based, integrated tactics training that is now replicated, with SPD training assistance, in
agencies around the country. See Appendix A, pp. 4-6; see also Dkt. 254 at 8 (Monitor’s
report describing SPD partnership program to provide crisis intervention training to police
departments and sheriff’s offices across the region).
The Consent Decree also necessitates that the Department provide advanced crisis
training to a subset of officers. ¶ 133. Although the Consent Decree refers to these
officers as “CI trained,” SPD refers to such officer in practice (and in this report) as “CI
certified.” The distinction is used because all SPD officer receive at least 8 hours of crisis
intervention training each year. To be “CI certified,” an officer must complete a 40-hour
comprehensive training program and then receive 8 hours of annual in-service to
remain certified. ¶ 133.. SPD continues to make available to officers the advanced 40-
hour CI training course that is run through the Washington State Criminal Justice

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Training Commission, and, as noted above, all of SPD’s sworn officers receive 8 hours of
annual training. See Appendix A, pp. 4-6.
Pursuant to the Consent Decree, the Crisis Intervention Committee must be consulted
regarding changes to the crisis intervention training curriculum. ¶ 133. The Crisis
Response Unit has continued to coordinate and attend quarterly meetings with Seattle’s
Crisis Intervention Committee. See infra, Section IV, pp. 52 & 62. The Crisis Intervention
Committee includes regular participants from local hospitals, mental health service
providers, and social service providers, and continues to review updates to SPD’s data
collection, training, and policy with related to crisis incidents. Id. at p. 62.
The Consent Decree also requires that SPD appropriately train dispatchers to identify calls
for service involving individuals in crisis. ¶ 135. During the study period, SPD provided to
its dispatchers a training course that addressed call processing and dispatching for
individuals in behavioral crisis. Appendix A, pg. 6.
Staffing and Deployment:
SPD must ensure that CI certified officers are available on all shifts to respond to crisis
incidents and will maintain its program of dispatching CI certified officers to incidents
involving community members in crisis. ¶¶ 130-31. When appropriate, CI certified officers
will take the lead in interacting with individuals in crisis. ¶ 132. During the study period,
SPD greatly increased its number of CI certified officers. An additional 118 officers became
CI certified in 2017 and more than 80 became certified in 2018 by attending the 40-hour
training through the Washington State Criminal Justice Training Commission. See
Appendix A, pp. 4-6. Staffing of CI certified personnel in the Operations Bureau increased
by 8.2% over the study period. Appendix A, pp. 15-19.
Its training program has allowed the Department to continuing dispatching CI certified
officers to calls involving individuals in crisis as appropriate. On average, 60% of personnel
assigned to and responsible for 911 response were CIT certified. In nearly 80% of crisis
calls, a CIT-certified officer was on-scene. See Appendix A, pp. 15-19. Although crisis
contacts have risen by 26 percent in the first half of 2018, compared to 2017, the
increased number of CI certified officers allows the Department to maintain consistent
outcomes. Accordingly, the staffing and deployment requirements of paragraphs 130 and
132 are met.




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Gathering and Tracking Data:
The Consent Decree requires SPD to gather and track extensive data regarding officers’
interactions with individuals in crisis, including, inter alia: information about the person
in crisis, whether a supervisor responded to the scene, if the person was armed, the
actions and techniques used by the officer, whether injuries occurred, the name and
badge number of the officer, and a description of the event and its outcome. ¶ 136.
The Crisis Intervention Outcome Report demonstrates that SPD continues to comply
with paragraph 136. See Appendix A. The data are gathered in the form of “crisis
templates” which officers are required to complete after making contact with a subject
experiencing any type of behavioral crisis. Appendix A, pp. 25-26. A Crisis Response Unit
sergeant reviews all Significant Incident Reports and ensures that, for those that contain
crisis indicators, a crisis template has been completed for that subject. Infra at p. 52.
In addition to simply gathering and tracking data on interactions with individuals in
crisis, SPD synthesizes it into annual reports that are published on its website each year.
These reports provide the public with a window into the Department’s crisis
intervention program as well as emerging trends. Some of the important conclusions
from the current Outcome Report are provided here.
       Increased Call Volume: Between January 1, 2017 and June 30, 2018, Seattle Police
       Officers made 15,995 contacts with persons believed to be experiencing a
       behavioral crisis, of which 92% were responses to calls from the public reporting
       an incident. Over the first six month of 2018, dispatched crisis contacts increased
       by 26%, and on-viewed crisis contacts increased by 30%, relative to the first six
       months of 2017. See Appendix A, pp. 6-14.
       Consistent Dispositions of Crisis Incidents: Resolutions that result in connections
       to social and mental health services remain high. See Appendix A, pp. 25-29.
       Peaceful, constructive dispositions of crisis incidents, such as referrals for services,
       reflect the benefits of SPD’s robust crisis intervention training program.
       Despite the Surge in Crisis Calls, Use of Force Remains Low: Of the 15,995 crisis
       contacts reported during the study period, reportable force occurred in just 277
       (1.7%) of all crisis contacts, comprising 557 total uses of force. The rate of force
       over the 18-month period remained relatively stable between 1.3% and 1.8%. Of
       these 557 total uses of force, 75% comprised no greater than low-level, Type I force
       (transient pain such as associated with a soft take-down, handcuffs, or the pointing

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       of a firearm). Five uses of force (.9%) were classified at the highest level, Type III.
       See Appendix A, pp. 29-32.
Data-Informed Policies:
The Consent Decree further requires that SPD review the crisis intervention data and
use it to inform programs and generate recommendations. ¶ 137.
The work required by paragraph 137 is carried out by SPD’s Crisis Response Unit (CRU).
This specialized unit consists of a sergeant, five officers and a mental health
professional. CRU’s responsibilities include supporting patrol officers with direct field-
response and coordinating with service providers and partner agencies. See infra pp. 51-
52.
In addition, CRU reviews and analyzes crisis data collected by the Department and uses
it to inform program decisions. CRU monitors a series of dashboards that present city-
wide crisis data in an easily digestible format and allow CRU to run queries to answer
questions. Infra p. 53. One dashboard focuses on members of the community who
frequently use crisis intervention services (“high utilizers”). Id. at 55. CRU uses this
information to develop individualized profiles of subjects of crisis incidents and provides
the profiles to patrol officers in RideAlong. Id. at 55-56. (RideAlong is a mobile internet-
based application that officers access from a precinct laptop or a patrol car’s dash
computer.) CRU also develops response plans for high utilizers, when appropriate,
including information such as case manager contact information, service provider, or
identified approaches that are likely to be successful. Infra at 56-58. Profiles and
response plans contained in RideAlong inform responses in the field in several ways. Id.
at 59-61. The dashboards also allow CRU to view information by precinct, by watch, by
various subject characteristics, and to drill down on uses of force in crisis incidents. Id. at
53-54.
As a final word before turning to the substance of the report, the careful reader may note
small differences between the numbers reported here and those previously reported on
October 31st. Because the Data Analytics Platform, from which data for each of these
reports are drawn, is a dynamic system, updated every 24 hours as reviews are completed
and new data entered, numbers reported will expectedly differ very slightly from query
to query. In this case, as the DAP queries for this report were run approximately two
months after queries for the prior report, the numbers reported here include two
additional cases that had not been completed as of the time data for the prior report was
queried.
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In addition to SPD’s Crisis Intervention Policy (16.110), SPD’s use of force policies are
relevant to this evaluation’s qualitative analysis of the propriety of SPD officers’
encounters with people in crisis. 

The Seattle Police Department’s Use of Force polices are published, collectively, as Title 8
of the SPD Manual. Policy sections 8.000 through 8.200 set forth the conditions under
which force is authorized, when force is prohibited, and affirmative obligations to de-
escalate prior to using force, when reasonably safe and feasible to do so, and to assess
and modulate force as resistance changes. While recognizing that officers are on occasion
forced to act very rapidly, this policy permits officers to use only the force that is
objectively reasonable, necessary, and proportionate to effectively bring an incident or a
person under control. Section 8.300 addresses the use and deployment of force tools
that are authorized by the Department, such as less-lethal munitions, canine deployment,
firearms, OC spray, and vehicle-related force tactics. Section 8.400 prescribes protocols
for the reporting and investigation of force; section 8.500 sets forth the process for review
of force.

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Consistent with Paragraphs 91-125 of the Consent Decree, force is classified,
documented, investigated and reviewed according to level of severity, described as
below:

ĞDŝŶŝŵŝƐ&ŽƌĐĞͲPhysical interaction meant to separate, guide, and/or control without
the use of control techniques that are intended to or are reasonably likely to cause any
pain or injury. Examples including using hands or equipment to stop, push back, separate
or escort, the use of compliance holds without sufficient force to cause pain, and
unresisted handcuffing. Officers are not required to report or investigate this level of
force.

dǇƉĞ / – Actions which “causes transitory pain, the complaint of transitory pain,
disorientation, or intentionally pointing a firearm or bean bag shotgun.” This is the most
frequently reported level of force. Examples of Type I force, generally used to control a
person who is resisting an officer’s lawful commands, include “soft takedowns”
(controlled placement), strike with sufficient force to cause pain or complaint of pain, or

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an open hand technique with sufficient force to cause complaint of pain. Type I uses of
force are screened by a sergeant and reviewed by the Force Review Unit.

dǇƉĞ//– Force that causes or is reasonably expected to cause physical injury greater than
transitory pain but less than great or substantial bodily harm. Examples include a hard
take-down or and/or the use of any of the following weapons or instruments: CEW, OC
spray, impact weapon, beanbag shotgun, deployment of K-9 with injury or complaint of
injury causing less than Type III injury, vehicle, and hobble restraint. An on-scene (where
feasible) sergeant collects available video evidence and witness statements; the evidence
packet and analysis of the force is reviewed by the Chain of Command and the Force
Review Unit (FRU). Cases flagged by the Force Review Unit for further inquiry, in
accordance with policy criteria, plus an additional random 10% of Type II cases are also
analyzed by the Force Review Board (FRB).
dǇƉĞ /// – Force that causes or is reasonably expected to cause great bodily harm,
substantial bodily harm, loss of consciousness, or death, and/or the use of neck and
carotid holds, stop sticks for motorcycles, and impact weapon strikes to the head. Type
III force is screened on-scene by a sergeant, investigated by the Force Investigation Team
(FIT), and analyzed by the FRB.

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Under Title 8 of SPD’s policy manual, all reportable uses of force (Type I, II and III) are
thoroughly and critically reviewed, and it is the substantive review of each force case by
the chain of command, the Force Review Unit, and the Force Review Board that makes
the initial determination as to whether a use of force is in or out of SPD policy. If any
reviewer in the chain of command or the FRU, or if the FRB by consensus, finds an
indication of a policy violation, whether related to the force or otherwise, that case is
required to be referred to the Office of Professional Accountability for further review and
a determination about whether there is any policy violation, and if so, the level of
recommended discipline. In addition, the OPA Director or his designee sits in on all FRB
discussions, and has the prerogative to take for further review any case regardless of
whether the FRB separately refers.

As noted above, Type I uses of force are screened by sergeant, reviewed/approved (or,
not approved) by the Chain of Command, and reviewed by the Force Review Unit for
completeness. While the Chain of Command is responsible for determining whether the
force was within policy, these cases do not go through a fuller FRU/FRB review except
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when the use of force is used in an incident in which a higher level of force was also used.
In such instances, the Type I force is then reviewed under the higher standards against
which Type II or III force is examined.

By policy, the FRB reviews all Type III cases. The FRU, comprising a captain, a lieutenant,
a sergeant, and two detectives, reviews all Type II use of force reports. FRU staff and FRB
members undertake the same inquiry, and apply the same standard of review, as the FRB
when reviewing cases. FRU staff and FRB members attend the same annual training
involving the objective analysis of force, which ensures that the FRU is conducting a
thorough review of their cases consistent with the reviews conducted by the Board.

Type II cases are sent to the FRB by the FRU when any of the following factors are
involved:

•   Possibility of misconduct;
•   Significant policy, training, equipment, or tactical issues;
•   When FIT was contacted for consultation and declined to respond or investigate;
•   When less-lethal tools were used on the subject;
•   When a canine makes physical contact with the subject;
•   When the subject is transported to an emergency room.
All cases not selected for FRB review are reviewed by the FRU detectives and their chain
of command. The FRU captain makes the final determination based on the FRU’s reviews
and recommendations. Bifurcating Type II use of force cases allows the FRB to focus its
efforts on the more significant cases, such as Officer Involved Shootings, Type III
investigations, and serious Type II cases. Additionally, a random 10% of cases reviewed
each month by FRU are presented to the FRB for a second independent review – a
mechanism to ensure quality control.

Both FRU answer the core inquiries of (1) whether the force was consistent with policy –
including an affirmative obligation to de-escalate when safe and feasible to do so, and if
there were issues with the force, whether supervisors appropriately identified those
issues. The FRU considers – and the FRB discusses – all pertinent factors surrounding the
force, including the tactics used and supervision at the scene. FRB determinations are
documented and any issues identified are referred to the appropriate commander for
follow-up. If policy violations are suspected, the incident is immediately referred to OPA,




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or to the chain of command if appropriate under Manual Section 5.002, by the FRB Chair
or designee, if not already referred by the reviewing chain of command.1

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The aggregated data presented in this report is sourced through the Data Analytics
Platform, including fielded data around crisis and use of force incidents and newly
including a protocol for capturing and integrating data relating to FRU/FRB reviews.

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SPD Manual Section 16.110 requires that officers document all contacts with subjects
who are in any type of behavior crisis. Currently, the Versaterm Records Management
System (RMS) is configured with a template designed to capture certain data in structured
fields. These templates are submitted as “children” of a “parent” report and consumed
by the DAP Extract, Transfer, Load (ETL) process. This process updates the DAP’s data
warehouse with new or changed records daily and renders them for analysis in the
Tableau server as a discrete data source and associated attribute of the Use of Force data
source. Additionally, these data can be joined with other data sources in ad hoc querying,
as needed.
This report presents a deeper review of Type I, II, and III uses of force associated with a
crisis event, including an aggregate review of (1) the nature of the force used (including
implement, if any) and (2) subject behaviors/resistance across the Type I and Type II
classifications of force. The report also compares crisis events to non-crisis events
relative to overall use of force across the study period. This report further presents the
FRU/FRB qualitative analysis as to those cases reviewed by FRU/FRB during the study
period, where both a crisis template and Use of Force report were joined under the same



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  It is important to understand what an FRB finding means relative to the question as to whether the force was
constitutional. By law, whether any use of force is lawful under the Constitution is a case-specific determination,
based on the perception of a reasonable officer under the totality of the circumstances present at the time the force
is applied, and often a point on which reasonable minds can differ. While the courtroom is generally the forum for
determining the legality of a use of force, the Force Review Board is a mechanism by which members analyze the
broader question of whether the force meets the requirements of policy and training that hold officers to a higher
standard of conduct – and care should be taken not to conflate the two. Importantly, SPD policy incorporates both
federal and state constitutional thresholds, but holds officers to a substantially higher level of performance and
scrutiny consistent with community expectations. Simply put, a finding that force is out of policy does not equate to
a finding that the force violated the Constitution, but a finding that the force was in policy does mean that, in the
view of the reviewers, it was also likely lawful.
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case file.2 The reader should note that, because this review encompasses only those Type
I uses of force that were included in force cases classified at a higher level (Type II or III),
the numbers reported in this section of the report do not include the majority of the Type
I incidents reported in the Department’s Crisis Intervention Outcome Report, published
October 31, 2018, and in Section I of this accordingly, will differ in raw number from those
reported in other contexts.
For each case in which either the Chain of Command, FRU or FRB, or a third-party sought
OPA review of a crisis-related use of force incident, this report provides both (1) a
description of the case; (2) the FRB’s discussion; and (3) the OPA disposition. In three
instances that involved a FIT investigation, the entirety of the FIT Force Investigation
Report is included for full context and transparency.
Finally, this report examines a smaller cohort of subjects who, over 2017-2018, presented
in three or more crisis incidents, for purposes of examining whether there are any
remarkable distinctions in use of force involving these “high utilizers” as compared to the
overall population of subjects in crisis/use of force cases. 

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The Consent Decree required SPD to continue and expand its tracking of information
related to SPD’s interactions with individuals in crisis. These metrics include information
about each crisis interaction such as date, time, location, name, age, gender, address,
weapon, veteran status, involved officers, supervisory response, techniques or
equipment used, injuries, disposition, and a brief narrative. See Consent Decree at
paragraph 136. SPD met this requirement during Phase I of this matter, and has
continued to comply with these requirements during Phase II. Aggregations and SPD’s
analysis of this data is provided herein.Between January 1, 2017, and June 30, 2018, a
total of ϭ͕ϯϳϲ͕ϳϮϰ SPD officers responded to a total of ϲϯϴ͕ϵϴϰunique calls for service.
During this same time period, a total of ϭ͕ϰϳϳcases were generated involving a reportable
use of force by one or more officers. In total, across these ϭ͕ϰϳϳ cases, Ϯ͕ϳϮϰseparate

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  Due to the limitations of siloed records system capturing use of force and crisis events separately, relationships
between crisis and use of force can only be inferred presently through a common report number. A match, involving
the exact subject of the crisis /use of force is not possible, at this time. Comparisons made to the Crisis Event and
Use of Force data sources suggest just 1 crisis event believed to be associated with a UoF and 3 uses of force believe
to include a crisis event, were not included. The observed disparity is due to date filtering, where a Crisis Contact or
a UoF were reported, associated with a common report, outside the study period. NRMS (MK43) has a UoF reporting
capability and is being configured by the NRMS core team, in a feasibility study. De-siloing UoF reporting will improve
counts and relationships by joining reports, natively.

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uses of force were reported, representing ĨĞǁĞƌƚŚĂŶŽŶĞͲĨŝĨƚŚŽĨŽŶĞƉĞƌĐĞŶƚ;Ϭ͘ϭϵйͿof
the ϭ͕ϯϳϲ͕ϳϮϰ officer dispatches during this study period͘   This reflects a rate that is
consistent with prior years’ reports. (A more comprehensive discussion of overall use of
force will be presented in the Department’s upcoming 2018 Use of Force Annual Report,
to be published on January 31, 2019.)
Of these ϲϯϴ͕ϵϴϰ calls for service, ϭϰ͕ϭϴϭ;Ϯ͘ϮϮйͿ involved one or more subjects reported
to be in behavioral crisis, as documented via crisis templates configured in the RMS. In
total, ϭϱ͕ϵϵϱ crises templates were completed across these 14,181 cases (indicating some
cases that involved more than one subject in crisis). (As noted in the Department’s Annual
Crisis Intervention Outcome Report, published on October 31, 2018, and attached hereto
as Appendix A for ready reference, these numbers represent a nearly 30% surge in crisis-
related calls for service over the past two years.)
Of these ϭϱ͕ϵϵϱ crisis contacts reported, Ϯϳϵ ;ϭ͘ϳϰйͿ(across Ϯϳϰ unique case numbers)
involved one or more reportable uses of force.3 In total, across these Ϯϳϰ cases, ϱϲϬ
separate uses of force were reported. These ϱϲϬ separate uses of force represent ϮϬ͘ϱй
of overall force (across crisis and non-crisis incidents) during the same study period
(n=2,724).
Figure 1 shows the distribution of force, by Type (I, II or III), across the 560 uses of force
in crisis-related incidents.




3
  These numbers differ very slightly from those reported on October 31, 2018. The reason for this is that as the DAP,
a dynamic system, is updated daily, numbers may change insignificantly from day to day as data is updated. Further,
when selecting data from a date range, numbers may change depending on which data source is queried (e.g., use
of force cases with associated crisis templates, or crisis templates with an associated use of force report) and the
timing of entry of different records into the system. SPD’s reporting of Type I and Type II force, accordingly,
significantly exceeds that standard. See https://ucr.fbi.gov/use-of-force

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                                                               Consistent with rates of force observed
                                                               across the general population of data, low-
                                                               level, Type I force continues to represent
                                                               the largest proportion of overall force –
                                                               comprising over half (62.86%) of all force
                                                               used in crisis-related incidents.
                                                               Type III (serious use of force) continues to
                                                               be an empirically rare occurrence, with a
                                                               total of five uses of Type III force, across
                                                               three separate incidents, comprising less
                                                               than one percent (0.89%) of the 560 overall
                                                               uses of force.4 Each of these cases is
                                                               discussed later in this report.
One notable distinction between crisis and non-crisis related use of force incidents is
observed with respect to Type II (intermediate) use of force. Whereas, over the past three
years, Type II use of force, overall, has remained fairly consistent at around 20% of all use
of force, in crisis incidents, Type II force comprises a higher percentage of all use of force
– approximately 36%. This is a real and true difference; whether this observed difference
is statistically meaningful is yet to be determined. It is likely that the addition of a subject
experiencing apparently behavioral crisis defines a distinct class of force but a statistical
approach is required to validate the finding. This will be discussed further later in this
report.
Tables 1 and 2 shows a breakdown of 2,610 reports, citywide, that contain at least one
application of Type I and/or Type II force, by non-crisis/crisis-involved events.
Overall, across these 2,610 reports, “Handcuffing” continues to comprise the largest
proportion of force applied (39.2% of force overall), followed by “Control Hold –
Restraint” (24.67% of total use of force) and “Firearm (Pistol) Point” (18.05% of total uses
of force). Of the 32 separate force applications represented in these reports, these three
application types were the only to be observed in greater than 10% of force cases, with a
sharp (>10%) divide between the third (“Firearm (Pistol) Point”) and fourth (“Verbal

4
  Of note, the Department is participating in the FBI’s new Use of Force collection program (SPD, in fact, was one of
the Departments that participated in the pilot to develop the platform); Type III force is the only level of force that
is required to be reported in that platform and is the nationwide standard for “force.”
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Commands”) most frequent force. Only six application types were observed in greater
than 5% of reported force, and just 14 application types were observed in at least 1% of
reported force.

Some notable distinctions are observed, however, between non-crisis and crisis-involved
events. In non-crisis events, “Handcuffing” is the most frequent use of force reported,
comprising nearly half (47.06%) of all reported Type I force where no crisis is reported.
“Firearm (Pistol) Point” is the second most frequently reported force application within
this population of cases (24.54%), followed by “Control Hold – Restraint” (15.59%). In
contrast, within the population of crisis-involved events, the “Control Hold – Restraint” is
by far the most frequently reported force type (50.15%), followed by “Handcuffing”
(37.64%); fewer than 10% (8.26%) involved a “Firearm (Pistol) Point” use of force.




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With respect to Type II force cases, “Control Hold – Restraint” is the most frequently
reported use of force, comprising 33.43% of all Type II force in non-crisis cases, and
45.45% in crisis-involved cases. “Control Hold – Takedown” and “Control Hold – Team
Takedown” are the second and third most frequently reported use of force across both
populations, comprising 23.4% and 14.08%, respectively, of Type II force in non-crisis
events, and nearly equal proportions (21.72% and 21.21% respectively) of Type II force in
crisis-involved events.

Notable differences were observed between the two populations with respect to certain
less lethal tools. Specifically, while the number of Taser deployments was equal (n=23) in
both non-crisis and crisis-involved events, the proportion of Taser applications was higher
in crisis-involved events (11.62%) relative to non-crisis events (5.28%). Only one (0.51%
of the total) application of OC spray was deployed in a crisis-involved event, compared to
35 (10.26% of the total) applications of OC spray in non-crisis events. Across both Type I
and Type II cases, only two applications of force in non-crisis events involved the use of a
baton; there were no reported uses of an impact weapon “strike” in any crisis-involved
event during the study period.

Of 2,083 Type I/II use of force reports (overall during the study period) in which at least
one type of subject resistance was noted, some similarly notable differences were
observed. A breakdown of subject resistance in Type I/II reports, in both non-crisis and
crisis-involved events, is presented in Table 2.

As was observed with respect to application of force, a review of subject resistance
suggests some differences between non-crisis and crisis-involved interactions. In all
categories of resistance in which at least one type of resistance was specified (i.e.,
excluding “other”), the proportions of such resistance was markedly higher in crisis-
involved events relative to both non-crisis events and overall use of force. See, in
particular, proportions involving “Resist Handcuffing” (45.44% in crisis-involved,
compared to 25.9% in non-crisis, events); “Resist Restraint/Control Hold” (39.88% in
crisis-involved, compared to 18.75% in non-crisis, events); and “Personal Weapons –
Feet/Leg/Kick” (17.26% in crisis-involved, compared to 4.88% in non-crisis, events). These
numbers suggest that greater force may be necessary to bring subjects in crisis under
control.




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Although a pattern of increased resistance (passive and active) is observed across force
types, caution should be used when drawing conclusions from strict observation of these
data, particularly when comparing unequal samples. Observed differences in force and
resistance suggest crisis involved force is a distinct class of response data, but this has yet
to be established empirically. Future analyses will attempt to validate this observation
using appropriate methods that control for the disparate sample size; nonetheless, initial
observations suggest it is the demeanor of the subject that is likely responsible for the
increased occurrence of Type II force, within crisis involved interactions.
This observation is supported as well by a review of behaviors exhibited by individuals in
crisis. Table 3 compares a breakdown of exhibited behaviors in crisis-involved events that
involved force with those in which no force was reported.
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As might be expected, a majority of force applications were used to bring under control
subjects exhibiting “disorderly disruptive” (74.91% of force applications) and/or
“belligerent uncooperative” (73.12%) behaviors, or who were engaged in a suicide
attempt or threat (22.94%) – behavior that often requires immediate action to protect
one’s self or others.
A breakdown of injuries associated with Type I and Type II uses of force, in non-crisis and
crisis-involved events, is shown in Table 4. While few notable differences are observed,
a review of injuries suggests that Type II force reports involving subjects in crisis are driven
predominantly by reports of abrasions and lacerations, with some observation of
differences in the occurrence of soft tissue damage, bruises and the occurrence of
hospital treatment. Again, however, caution should be used in drawing any conclusion
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from these visually apparent differences. As noted earlier, future analyses will attempt
to verify Type II crisis involved force as a distinct class through appropriate statistical
means5 to handle unbalanced population size and the problem of multiple comparisons.
While (as reported in the Department’s Crisis Intervention Outcome Report (see Appendix
A)) the overwhelming majority of crisis interactions (~ 92%) are in response to dispatched
events, force occurs with greater frequency (2.78%) in on-viewed events relative to
dispatched events (1.81%). While again a statistical comparison of these two populations
is difficult given both the extraordinarily infrequent occurrence of force, overall, and the
substantial difference in population size between dispatched and on-viewed events,
some differences can be observed when comparing use of force to subject behavior in
dispatched and on-viewed events.




5
 A Principal Components Analysis (PCA) approach to Confirmatory Factor Analysis (CFA) and Bayesian classification
are both valid approaches.
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As shown in Table 5, on-viewed crisis-involved events involving a use of force were highly
likely to involve observed subject behaviors classified as “Disorderly Disruptive,”
“Unknown Crisis Nature,” and “Belligerent Uncooperative,” and “Chemical Induced.” The
higher frequency of these reported behaviors in on-viewed cases, while prevalent in
dispatched cases as well, suggests that officers are observing that intervening in events
that, as a result of more agitated subject behavior, are more likely to result in a use of
force.
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In sum, the data support the intuitive conclusion that force is unfortunately necessary
more frequently in crisis-involved incidents because of the behaviors of subjects in crisis
who, as compared to the general population, more frequently exhibit dangerous or
threatening behaviors, often driven by substance use that precludes effective de-
escalation. In other words, the data strongly suggest that crisis related use of force is a
distinct type of event. While some notable differences can be observed in force
classification, the observed difference is likely the result of officer response to specific
subject behaviors, resulting in injuries and force applications which are definitive of the
class. This is particularly true with respect to Type II uses of force, which occur with
greater frequency in crisis-involved incidents than in use of force cases, overall. As noted,
future analyses will explore these apparent patterns more closely and attempt to better
understand the nature of these events. Anecdotally, as discussed in Appendix A, there is
discussion nationally about the rise in methamphetamine use – a category of narcotic
known to cause violent and erratic behavior (see, e.g., SPD Type III case 2017-319167,
                                             20
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discussed later in this report); these reports are consistent with data from both the Seattle
Fire Department and the King County Medical Examiner that indeed show a rising trend
in the number of incidents involving the use of methamphetamine. As both SPD, public
health agencies, and mental health providers are able to better understand the
mechanisms that drive such behavior, it is possible that additional intervention strategies
may be developed that may reduce the energy of such events.

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The Force Review Unit and Force Review Board serve as SPD’s internal review
mechanisms for all serious uses of force. This includes uses of force that involve people
in crisis. For purposes of this report, SPD extracted the data and findings of the FRU and
FRB’s findings with respect to all Type II uses of force during the audit period (January 1,
2017 to June 30, 2018).6
Between January 1, 2017, and June 30, 2018, FRU/FRB reviewed a total of Ϯϯϯ crisis-
involved cases including one or more uses of force, comprising ϰϰϲ separate uses of force
in total. A breakdown of use of force reviewed, by type, is shown in Figure 3.7 All Type
II uses of force within this population of cases were reviewed by the full FRB.




6
  In May 2018 the FRU (a unit staffed with subject matter experts with respect to force review) began entering
data from force review findings documents into a custom software application SPD developed to capture
unstructured data relating to force reporting, investigation, and review. Findings for each of the Type II cases
associated with a crisis template that had undergone FRU/FRB review were backfilled into this system. This
application allows SPD to populate, in DAP, findings of the FRU/FRB with respect to whether officers acted
consistently with Department policy and training. Data reported in this section comprise both aggregated findings
from this application and manual review of FIT and FRU records.
7
  Because of the inherent time lag between the date of occurrence and the date that final review is completed, the
number of cases occurring during the study period that had completed final review during that same period will be
lower.
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The findings of the FRB (and the findings of the Office of Police Accountability “OPA”,
where additional investigation was performed) demonstrate that SPD has sustained
compliance with the terms of the Consent Decree related to minimizing the use force
against people in crisis. In addition to the quantitative finding that these numbers are
exceptionally low, the qualitative analysis conducted by the FRB found that each serious
use of force was necessary, reasonable, and proportionate and otherwise complied with
SPD’s policies and training relating to force and de-escalation.
In all but the small number of cases discussed herein, FRB found that the Type II uses of
force involving people in crisis in the study period were within policy and consistent with
training.
Whether the FRU appropriately decided in all cases is beyond the scope of this review.
FRB referred three cases (4.2%) involving a Type II use of forceto OPA for issues relating
to either the reporting, investigation, and/or use of force. Of the allegations referred,
none were sustained by OPA. The circumstances, and OPA’s findings, as to each are
presented in Tables 6-10, which are attached hereto as Appendix B.
In one case, the FRB found the officers’ actions to be consistent with use of force policy
and training, but referred to OPA allegations concerning separate possible policy
violations. OPA returned this case for supervisor action. This case is described in Table
7.

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In nine cases (12.5%), OPA complaints, generated either by the Chain of Command (two
cases) or a third party (either individually or as forwarded by the Chain of Command) were
pending at the time of the FRB review. Accordingly, FRB discussed tactics and decision-
making around the use of force, but deferred findings to OPA. Of these eight cases, each
containing multiple allegations, OPA sustained allegations relating to the force itself in
only one. These cases are described in Table 8.
In one case, OPA received a complaint from the subject via the Chain of Command prior
to FRB review; the matter was reviewed by the FRB because OPA classified the case as an
Expedited Investigation with the agreement of the OPA Auditor and, thus, determined
that the case would not be sustained. See Table 9. Ultimately, the FRB found that the
officers took reasonable steps to de-escalate and that the force was reasonable,
necessary and proportional. The FRB noted as training issues that the officers should have
been more aware of officer safety issues, as they separated without having frisked the
subject or securing him in handcuffs. The FRB recommended that this case be referred
to Training for incorporation into future training sessions on tactics.
Finally, in two cases, the FRB noted concerns about tactics and decision-making and on-
scene supervision, but noted that all concerns had been addressed prior to its review by
the Chain of Command. See Table 10.

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The Force Review Board serves as SPD’s internal review mechanisms for all Type III uses
of force, including uses of force that involve people in crisis. For purposes of this report,
SPD extracted the data and findings of FRB in the same manner described in Section VI.
with respect to all Type III uses of force during the audit period (January 1, 2017 to June
30, 2018).
As with Type II force, the findings of the FRB and OPA demonstrate that SPD has sustained
compliance with the terms of the Consent Decree related to minimizing the use force
against people in crisis during cases involving Type III force. As with Type II force, in
addition to the quantitative finding that these numbers are exceptionally low, the
qualitative analysis conducted by the FRB shows that each serious use of force was
necessary, reasonable, and proportionate and otherwise complied with SPD’s policies and
training relating to force and de-escalation.




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There were only two Type III uses of force against people in crisis during the audit period.
Descriptions of each, as well as relevant FRB and OPA findings are provided as Appendix
C to this Evaluation.
In the first, FRB concluded that officers used sound tactics and de-escalation efforts in this
incident. Officers communicated clearly with the subject to get on the ground and comply
with their commands. A warning was provided to the subject, prior to the Taser
deployment, but was ignored. No additional de-escalation tactics were identified by the
Board that the involved officers could have used. The use of force was also referred to
OPA by a civilian. Following OPA review, the OPA Director issued a “Not Sustained”
finding with respect to all six allegations, certifying four as a “Lawful and Proper” use of
force, and certifying two allegations as “Unfounded.”
With respect to the second case involving Type III force, at the time of the FRB review,
OPA had taken review of multiple issues related to force, de-escalation, stops and
detentions, and professionalism, which had been referred to OPA by the chain of
command. The FRB accordingly discussed elements around tactics and decision-making,
but, per policy, did not issue findings on either tactics/decision-making or the use of force.
The FRB did conclude, however, that no Type III force was used, finding (a) that no
choke/neck hold was applied and there was no indication that officers obstructed the
subject’s airway while applying force to the subject. Following OPA’s review of the
subject’s allegation that he was choked, the OPA recommended a finding of “Not
Sustained – Inconclusive.” OPA rejected allegations of excessive use of force as to two
other officers at the scene as “Not Sustained – Unfounded.” As to referrals relating to the
lawfulness of the stop, OPA found all related allegations, against all named employees, to
be “Not Sustained – Lawful and Proper.” As to referrals relating to professionalism and
discretion, OPA found all related allegations, against all named employees, to be “Not
Sustained – Lawful and Proper” except in the instance of named employee #1 where,
because evidence of the alleged choke/neck hold was inconclusive, OPA found the
allegations to be “Not Sustained – Inconclusive.”
In addition to full FRB review, two Type III cases were referred and reviewed directly by
OPA - one by way of a third-party complaint (2017-319167), and one by way of an FRB
referral. In both, OPA issued “not sustained” findings as to each allegation.

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Finally, while not directly required by the terms of the Consent Decree, SPD’s Crisis
Response Unit has engaged in significant additional work in the field of crisis intervention
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with the goal of improving SPD’s understanding of the interactions it has with people in
crisis and how to improve the Department’s capacity to engage and support people in
crisis. A summary and some key conclusions from the past year of CRU’s work are
described herein.
The Crisis Response Unit consists of 1 sergeant, 5 officers and 1 mental health professional
(MHP). Throughout the study period and ongoing, CRU has maintained its standing
mission of supporting Patrol with direct field-response, assessing Crisis related reports for
appropriate follow up to include potential Response Plans, and coordinating with service
providers and partner agencies. By way of example, in 2018 alone, CRU personnel
responded to over ϭ͕ϮϬϬ ƉĂƚƌŽů ĐĂůůƐ, coordinated ŶĞĂƌůǇ ϰϬϬ ŵĞĞƚŝŶŐƐ with service
partners (including regular meetings with the Crisis Intervention Committee), and
conducted follow-up on over 700 incidents.
In addition to their field and follow-up work, CRU maintains situational awareness of
crisis-involved activity throughout the city in two significant ways, at both an incident
level and through aggregate review.
At the incident level, a CRU sergeant is responsible for reviewing all Significant Incident
Reports (SIRs)8 and ensuring, for those that contain crisis indicators, that a crisis template
has been completed for that subject. In addition, where exceptional work is noted, the
Sergeant may retain those SIRs for purposes of informing future training and/or
commendations. Thus, for purposes of answering questions that have come up as to how
SPD measures de-escalation in instances in which no force is used, incident-specific
review in crisis cases, which are inherently more likely to involve force at some level,
provides one such measure of oversight. Examples of some such SIRs generated within
the study period are included below for illustrative purposes.




8
  Significant incidents include any incident involving an assault with serious injury, bias crime, circumstances likely
to generate media attention and/or community concern, homicide, hostage/barricade, in-custody death, assault on
officer, robbery, shots fired, significant crisis incidents, including those resolved without force, Type II and Type III
use of force, and any other event a sergeant believes to be significant. The purpose of the SIR is to provide command
staff with rapid notification of significant incident, to inform sergeants, lieutenants, and captains of potential cross-
precinct issues to enhance officer safety and incident investigation, and to make specific information about
significant events directly and quickly available to officers and detectives to improve officer communication and
safety. See SPD Manual Section 15.350.


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At the aggregate level, city-wide, the CRU monitors a series of dashboards that allow for
ready queries into SPD’s crisis data. The dashboard shown in Figure 3 displays all crisis
responses city-wide, query-able by precinct and watch. Data can further be parsed by
subject characteristics, whether the officer is CIT-certified, nature of crisis, disposition,
and whether force was involved.
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A second dashboard Figure 4 presents data for those crisis incidents associated with a use
of force, searchable by nature of injury, type of force, nature of force, subject resistance,
and subject and officer characteristics. (Note: a CRU sergeant represents the unit on the
FRB and serves as a subject matter expert in force cases involving a subject in crisis.)
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A third dashboard (Figure 5) provides information concerning high-frequency utilizers
(names redacted) of crisis intervention services. The CRU is responsible for creating and
maintaining individualized profiles of subjects of crisis incidents, for purposes of
potentially informing future responses. As Crisis Templates are completed by officers, the
data points are captured and then populated into a custom application platform
(currently, RideAlong). A “profile” is created in RideAlong for each individual when a
template is completed; additional interactions with such individuals further populate the
data contained within each profile. 

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While profiles are created for all subjects of crisis templates, the designation of a ‘high-
utilizer’ takes multiple factors into consideration, including the number of crisis contacts
within a rolling 365-day period, whether an individual was involved in a high-risk crisis call
requiring a large number of resources or presenting an on-going safety concern and the
volume of calls to the 911 center.
Response Plans are developed for those individuals deemed as high-utilizers and
where a consistent structured approach by patrol officers would be beneficial. While
some individuals do not necessitate a full Response Plan, relevant information exists
that could assist patrol with future encounters – such as case manager contact
information, service providers, specific ‘hooks’ that could prove successful during de-
escalation efforts, etc. In those instances, the CRU adds information into RideAlong –
creating an ‘extended’ profile and making it visible to Patrol. The CRU also
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disseminates Officer Safety Bulletins as appropriate. In 2018, the CRU has published
26 specific Response Plans and an additional 43 Bulletins.
An example (redacted) of such a profile is shown in Figure 6, as screenshots of the
information officers have available to review in the field, which they may rely on in
informing their approach to the individual or the disposition of the event.
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Incident No. 18-020083, a Type II use of force event discussed above in Table 10, provides
a good illustration of how response plans contained in the RideAlong application inform
responses in the field. In this case, which involved a subject who had disrobed, was
running around in the street, barricading himself in a trashcan, and was otherwise
aggressive towards officers, the subject’s profile noted a violent history associated with
drug use. Because the root cause of the subject’s behavior was known to be drug related,
rather than due to an underlying mental health condition, the response plan called for an
arrest of the subject where probable cause to do so exists, rather than seeking an
Involuntary Treatment Act detainer, which had been ineffective in the past. Officers on-
scene further sought to offer a blanket, cigarettes, and music to the subject in an effort
to achieve cooperation and compliance, based on suggestions in the response plan.
Though ultimately unsuccessful in resolving the incident without the need for force,
officers were able to call upon information in this application to potentially diffuse what
may have resulted in a higher level of force otherwise.
The high-utilizers dashboard assists in the Department in being able to answer ad hoc
queries as well. In a recent discussion with a DOJ subject matter expert, for example, a
question was raised as to whether there were any unusual patterns or frequencies of use
of force involving subjects who were deemed high utilizers of crisis intervention services.
For purposes of examining this question, SPD examined all crisis and use of force incidents
across the study period (January 1, 2017 – June 30, 2018) that were associated with a
known subject. Just five individuals were involved in a crisis contact associated with a
reportable use of force more than once: Four of these five subjects were involved in two
separate crisis-involved use of force events each; one was involved in three.
Expanding the study period to the universe of crisis events associated with a use of force,
as of the time of this drafting (May 15, 2015 to November 25, 2018, n = 627), one subject
was involved in five separate crisis-involved use of force events; two individuals were
involved in four separate events. Five individuals were involved in three separate events,
and 31 individuals were involved in two each. In other words, of the 627 unique events
with both a crisis template and use of force associated, approximately 14% (n=90)
involved one of 39 repeat subjects, none of which were involved in any greater than five
incidents. Considering the substantial number of individuals listed as high-utilizers with
crisis contacts far exceeding these numbers (see Figure 5), it is fair to say that the low
number and sporadic nature of these “high utilizer involved” force incidents across both
the study period and the total universe of crisis involved use of force data do not support
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any meaningful inquiry in terms of pattern or trend analysis. Notwithstanding, CRU
performed a cross-check to determine the number of these individuals with established
response plans in RideAlong. Of the nine individuals identified as subjects in three or
more separate crisis-involved use of force events, all have CRU profiles; three of which,
however, are inactive due to inactivity. Four subjects have full response plans on file, all
with officer safety flag cautions.
Additionally, the ability to pair a subject not only with the number of crisis-related force
incidents but the number of uses of force in each incident allows the CRU to examine any
trends or outliers that might indicate escalating behavior. One such example can be seen
with respect to one individual who was involved in three separate crisis-involved use of
force incidents over the course of one year, involving a total of 19 separate uses of force
– 6 associated with the first, 2 associated with the second, and 11 associated with the
third. Reviewing each of these incidents shows not only escalating behavior, but
highlights the opportunities to engage more systemically in intervention options.
• In the first contact with this individual, SPD responded to a suspicious person call
  where the subject appeared to be in a crisis state, with behavior that was bordering
  on excited delirium (keening, growling, barking). During the investigation, officers
  identified and verified a warrant. During the arrest process, the subject lost all
  behavioral control which resulted in a “help the officer” call out. SFD ultimately
  administered Ketamine to the subject. At the time of this incident, the individual was
  not tiered with any mental health agency, per the crisis clinic.

• In the second incident, officers on-viewed a disturbance at the Union Gospel Mission
  where several clients were chasing the subject down the sidewalk. After containing
  the subject and listening to the pursuers, it was learned that the subject had stolen a
  puppy from another client. At one point in the contact the officer patted the subject
  in a reassuring way, which resulted in the subject dropping to the ground and crying
  out in pain. Following arrest, the subject made numerous injury claims (including a
  broken leg, which resulted in a Type II use of force investigation).

• In the third incident, radio had broadcast a city-wide Amber Alert that a male subject
  (identified as the subject in the above-two incidents) had taken his five-year-old child
  at knife point from the grandparents and might be heading to Seattle from Lake Forest
  Park. A description of the vehicle being driven by the subject was given during the
  Amber Alert, and multiple citizens called 911, gave the location of the vehicle, and

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   reported that the child was in the front seat. Officers responded to the area, located
   the subject vehicle, and attempted to stop it. The subject refused to stop and
   attempted to elude them. As the subject fled, he rammed two officers’ vehicles with
   his own, and then drove onto the sidewalk. Several officers rammed/pinned the
   subject’s vehicle in with their patrol vehicles to disable it. Once the subject’s vehicle
   was unable to move further, officers approached the vehicle. The subject attempted
   to take hold of the child and use him as a shield, but officers were able to use verbal
   persuasion to rescue the child and take the subject into custody.
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In the second incident, the subject was found to be in possession of methamphetamine –
likely a significant factor in his erratic behavior. During the 2016 legislative session, a bill
(“Ricky’s Law”) was presented which would add “Substance Use Disorder” to the criterial
for an emergent detention under the Involuntary Treatment Act (ITA) outline in RCW
71.05.153. Based on data from SPD’ crisis templates, which showed substance use
disorder listed as a possibly underlying cause in nearly a quarter of all crisis incidents,
SPD’s crisis coordinator (Sgt. Dan Nelson) was asked by the co-author of the bill to provide
testimony to the state legislature, which he did – arguing that individuals who were
struggling with the disease, were suicidal, and were needing involuntary treatment were
left out of the system of care, forcing them to continue a pattern of substance use, self-
harm, and potential harm to others. Due to the large fiscal impact of the legislation, the
bill did not pass in 2016, but was introduced and was passed in 2017 with broad bipartisan
support.
Many of the CRU’s “high utilizers” come to police attention because of crisis behavior
attributed to substance use disorder. Prior to Ricky’s Law, officers would often bring
subjects in crisis to the Emergency Room pursuant to the ITA, only to have it medically
determined that their behavior (often lack of control or suicidality) was the result of
substance use disorder, and they would be released. This resulted in an alarming rate of
recidivism amongst this population, which no option for involuntary services.
Pursuant to this legislation, the secured detox facility in King County is scheduled to open
in 2019. Once that facility is open, the King County Designated Crisis Responders will be
able to detain individuals to one of the secured 16 detox beds, to hopefully provide the

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individual with meaningful and appropriate treatment. Had this option been available in
2017, when officers responded to the second incident and found methamphetamine on
the individual, such intervention may have disrupted behavior that may have eventually
led to the third incident.
Separate and apart from its heavy workload around its core mission of providing analytical
and field support around crisis incidents and responses, the CRU has additionally,
beginning in mid-2017, absorbed two new bodies of work associated with other legislative
changes, both of which likewise serve to either provide new connections to services or
reduce the likelihood of harm. Sheena’s Law (RCW 71.05.458) enables law enforcement
officers to refer directly to mental health professionals individuals who fall short of the
legal threshold for involuntary detainment but still may pose a threat of harm to
themselves or others). The Extreme Risk Protection Order (ERPO) Act (RCW 7.94) enables
family members or law enforcement agencies to petition a court to temporarily prevent
individuals who are at high risk of harming themselves or others from accessing firearms.
Since these laws went into effect, the CRU has made nearly ϲϱϬ direct referrals under
Sheena’s Law to King County Designated Crisis Responders, and has assessed ϵϬ
individuals for criteria meeting an ERPO. In ϰϬ of those instances, CRU personnel sought,
and secured, court orders, pursuant to which the CRU has since secured ϵϯ firearms from
33 individuals, arguably saving lives and proactively mitigating the need to use force in
eventual responses.9
Finally, at a regional level, the CRU has been integral in leading the charge to expand the
cross-disciplinary approach, which in nascent form was limited to Seattle’s Crisis
Intervention Committee, to addressing behaviors that fall in the widening intersection
between public safety and public health. While Seattle’s Crisis Intervention Committee
continues to meet quarterly, includes regular participants from local hospitals, mental
health service providers, and social service providers (as well as invitees from both the
DOJ and Monitoring Team), and continues to review updates to data collection, training,
and policy, Sgt. Nelson also serves as the Vice-Chair of the King County Behavioral Health
Advisory Board. In this role, he helps to plan both regional and international CIT
conferences and participates in monthly Regional CIT Coordinators meetings, hosted by
the Washington State Criminal Justice Commission. The primary purpose of these
meetings is to synthesize the Crisis Intervention Committee process around program
development, legal updates, data collection, advocacy, and co-responder programming

9
 The workload associated with these new bodies of work is not insubstantial, averaging nearly 50 hours of work
per pay period.
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for agencies who are in the process of standing up their own Crisis Response Units or
Crisis Intervention Committees. Other participating agencies include the King County
Sheriff’s Office; Kirkland, Redmond, Tukwila, Issaquah, Port of Seattle, Auburn, Lake
Forest Park, and Bellevue Police Departments; the Washington State Patrol; SCORE (South
Correctional Entity) Jail; King County Behavioral Health and Recovery Division, and the
King County Mental Illness and Drug Dependency Program.
Collectively, through its participation on the FRB, its engagement with the CIC locally and
regionally, its analytical work, and its incident-based review of each crisis-involved
incident, the CRU continues to hold a vital position in ensuring not only that each crisis
event and each crisis-involved force event is critically reviewed, but in harnessing its
experience, and its data, to advance policies, training, practices, and key legislative
changes that all serve to mitigate, to the extent possible, negative interactions – including
foremost the already empirically rare occurrence of force – between police and persons
in crisis.

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In Phase I of the work of under the Consent Decree, DOJ and the Monitoring Team
reviewed SPD’s compliance with the requirements of the Consent Decree through 10
assessments, covering the roughly six topic areas of the Consent Decree: force
investigation and reporting, crisis intervention, supervision, Early Intervention System
(“EIS”), use of force, and stops and biased policing. By the end of 2017, the Monitoring
Team and DOJ found the City of Seattle to be in compliance with each area. On that
basis, the Court issued a finding of “full and effective compliance” with the
requirements of the Consent Decree. By the terms of the Consent Decree, the City of
Seattle is now required to demonstrate that it can sustain compliance with those
requirements for a period of two years.
During Phase II of the Consent Decree work, the City of Seattle has taken over the lead
role in conducting assessments of the six core topic areas of the Consent Decree. By
taking this lead role, SPD must demonstrate not only sustained compliance, but also a
willingness and ability to critically self-assess their own progress in these areas, which
are central to effective and constitutional policing.
This does not mean, however, that the work of DOJ and the Monitoring Team is done. In
Phase II, DOJ and the Monitoring Team are reviewing the City’s proposed methodologies
for each audit and are conducting their own independent analysis or “look behind” the
City’s review.
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For this audit, DOJ and the Monitoring Team consulted with SPD and ultimately
approved the methodology used by SPD in conducting its own self-assessment. DOJ and
the Monitoring Team also consulted with leaders in SPD’s Crisis Response Unit regarding
their work. Further, DOJ and the Monitoring Team requested and received a randomly
generated sample of force case files involving people in crisis for the time period
January 1, 2017 to June 30, 2018. The sample set was comprised of 6 Type I case files
(the equivalent of 10% of cases from a three month time period) 10; 5 Type II case files
(the equivalent of 20% of cases from a three month time period); and 3 Type III cases
(representing all of the Type III uses of force against people in crisis during audit time
period). DOJ and the Monitoring Team, together with their subject matter experts,
reviewed these case files for compliance with the terms of the Consent Decree relating
to crisis intervention and its intersection with use of force, and SPD’s policies regarding
the same. DOJ and the Monitoring Team subsequently conferred about their findings
and, based on their Phase II reviews, concluded as follows:
       • The City of Seattle has demonstrated that it has sustained compliance with
         the crisis intervention requirements of the Consent Decree, including
         continuing crisis training, engagement with the Crisis Intervention Committee,
         and by engaging with individuals in crisis in a manner generally consistent
         with crisis intervention and force policies.

       • DOJ and Monitoring Team were particularly encouraged at the markedly high
         rates of CIT certification among patrol officers (73%), rendering the vast
         majority of patrol officers well-equipped for encounters with people in crisis.
         This widespread training may account for the encouraging statistics captured
         in the Crisis Outcome Report (Dkt. 495-1) and its finding that SPD officers
         have kept up with demand despite a 12% increase in dispatched crisis
         contacts. Approximately 80% of crisis contacts involved a CIT certified officer.
         The high number of CIT-certified officers responding to crisis incidents may
         also, in turn, account for some of the outcomes Seattle has experienced with
         respect to people in crisis. Referrals to designated crisis responders increased


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  During Phase I, the Monitoring Team and DOJ examined a three month time period. For purposes of
this self-assessment, SPD opted to use a broader time period in order to get a more robust sample for
data analysis. However, for purposes of using a comparable sample from Phase I, the Monitoring Team
and DOJ used the equivalent of a three month time period to provide the base number from which to
sample cases across the 18 months audit time period.
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          by 103% during 2017 and officers used reportable force only 1.7% of the time
          across more than 15,000 contacts with people in crisis.

      • In reviewing the sampling of cases involving force used against people in
        crisis, DOJ and the Monitoring Team found that where issues related to the
        use of force against a person in crisis did exist, the chain of command made
        appropriate referrals. For instance, in the Type III matter involving an officer’s
        failure to de-escalate and potential use of excessive force, the chain referred
        to the matter to the Office of Police Accountability, ultimately resulting in a
        referral for criminal prosecution (the officer was charged with assault).
        Likewise, where a supervisor identified that an officer’s statements could
        have contributed to the eventual need to use force in a Type III incident, the
        supervisor referred the officer for additional training. DOJ and the Monitoring
        Team are encouraged that such instances of self-referral indicate a willingness
        and ability to manage risk in the Department and, where appropriate, hold
        fellow officers accountable for violating policy.

      • DOJ and the Monitoring Team also note with encouragement that SPD has
        plans to enable officers’ computer aided dispatch systems in early 2019 to
        access high utilizer profiles for people who frequently encounter the police
        while in crisis. The system will enable officers to immediately review
        information collected by the Crisis Response Unit about a subject’s potential
        triggers, behaviors likely to de-escalate the encounter, and case management
        contacts, among other things.
In the interest of continuous improvement, however, DOJ and the Monitoring Team
offer the following technical assistance to SPD based upon issues spotted during their
respective reviews. Although none of these issues rose to the level of systemic non-
compliance with the terms of the Consent Decree, DOJ and the Monitoring Team
strongly encourage SPD, and the Inspector General who will take over the audit function
for this topic area in the future, to give attention to these matters going forward:
      • There were a number of cases in our sampled review set in which it was
        unclear which officer was taking the lead in a given encounter. While we
        appreciate that many police encounters involve dynamic situations that
        change quickly, we believe that it is critical to have an officer in charge
        whenever multiple officers are involved, if possible. Even a hasty plan for

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   tactical approach and designating which officers will handle contact, cover,
   and less lethal, provides officers with better options for engagement and a
   higher chance of a resolution without the need to use force. This is
   particularly true in cases involving persons in crisis because of the importance
   of de-escalation techniques in such encounters. We have observed that
   where there is a lack of clear leadership, the officer with the lowest threshold
   for use of force becomes the de facto decision-maker for the group. For these
   reasons, we strongly encourage SPD to focus its training in crisis, de-
   escalation, and team tactics on the designation of a tactical leader and the
   formation of a contact team. Further, this training should specify that when
   an incident involves a person in crisis and one or more CIT-certified officers on
   scene, a CIT-certified officer should be designated as the tactical leader.

• It was often difficult to tell in the case files we reviewed whether a Crisis
  Template had been filled out for certain Type I uses of force. To the extent
  SPD is not already including these templates in its force review files, they
  should be included so that they can be part of the review for both the chain of
  command and any future auditor. Further, it was often difficult to tell from
  the case file if the involved officers were CIT certified. We were able to
  ascertain their status by cross-referencing a list of CIT certified officers.
  However, for ease of reference to the chain of command and future auditors,
  we would suggest that SPD include CIT certification status in either the Crisis
  Template and/or the use of force report as a matter of course.

• Several cases in our review raised a potential concern with tactical
  positioning. In one, officers were approaching a subject who was advancing
  toward them on foot. Officers rode their bicycles towards the subject and
  then stopped immediately in front of him, after which they quickly engaged in
  physical contact with him. Had officers stopped their bicycles farther back
  from the subject it would have given the subject the opportunity to hear and
  respond to verbal commands and, therefore, to potentially voluntarily
  comply. Similarly, other cases included incidents where additional space on
  approach may have provided better opportunity for voluntary compliance.
  Accordingly, we would encourage SPD to further emphasize tactical
  positioning as part of its de-escalation training.


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• Finally, a mixed note. As a practice, DOJ and the Monitoring Team review the
  significant incident reports (“SIRs”) published by SPD on a near-daily basis.
  Although they are not part of our formal, statistical analysis of crisis cases,
  they do provide an additional window into SPD’s interactions with people in
  crisis. We note with encouragement that the vast majority of incidents
  appearing in these SIRs appear to resolve issues with people in crisis without
  the use of force. In fact, we have been struck by the impressive feats that SPD
  officers have accomplished in particular in preventing suicides and in
  achieving compliance through scene management and verbal de-escalation
  approaches. We note that many of these outcomes have been achieved by
  the Hostage Negotiation Team (“HNT”). From the anecdotal outcomes we
  have observed in the SIRs it appears that HNT is versed in the same general
  techniques as CIT-certified officers, however, it would be useful to ensure that
  everyone at SPD who encounters people in crisis operates from a uniform set
  of training and principles. Accordingly, we would recommend that HNT
  officers receive the same or substantially similar training as CIT-certified
  officers, in addition to their specialized negotiation training, which includes
  techniques for working with people in crisis, but typically does not delve as
  deep as the 40-hour CIT certification course.




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          Seattle Police Department’s
    Crisis Intervention Outcome Report
                     October 2018
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Since 2014, in collaboration with the Department of Justice and community partners, the
Seattle Police Department has become widely recognized as a model for delivering
meaningful and compassionate police services to individuals in behavioral health crises,
helping to drive best practices around the nation.1

In keeping with its commitment to transparency, accountability, and data-driven practice,
over the past three years SPD has published annual reports detailing its work around crisis
intervention, both in response to increasing numbers of crisis calls for service and
proactively by SPD’s Crisis Response Unit, which seeks to keep individuals in frequent or
chronic crisis connected with appropriate service providers. This reports builds on prior
years’ reports and presents updated data around crisis incidents, deployment and
distribution of officers with advanced Crisis Intervention Training, Use of Force in crisis
incidents, and disposition of crisis incidents.

In addition, this report fulfills a key requirement under the court-ordered plan
(Sustainment Plan) that sets forth the schedule by which SPD, now in full and effective
compliance with all of its commitments under the Consent Decree, is to demonstrate
during this next phase that it is sustaining performance across all topical areas of the
Consent Decree. With respect to Crisis Intervention, the Sustainment Plan requires three
separate reports over 2018-2019: an annual Outcome Report of crisis contacts, to be filed
in October of both 2018 and 2019, and a comprehensive evaluation of use of force in crisis
incidents, to be filed in December 2018. Pursuant to the methodology attached as Exhibit
A, this report meets the 2018 deadline of the former.
With respect to data concerning crisis calls, officer deployment, and disposition, the time
period studied for this report extends from January 1, 2017 to June 30, 2018. For
discussions concerning training, this report covers a study period of January 1, 2017 to
December 31, 2017, to account for the annual training cycle.

Data used in this report is sourced to the extent possible from the Data Analytics Platform,
a comprehensive enterprise-wide platform that consolidates data from multiple unique
source systems and allows for ad hoc reporting and analysis. In support of the ongoing
mission of the Crisis Response Unit to manage its nearly 10,000 annual contacts with

1
 See, e.g., Critical Issues in Policing: Guiding Principles on Use of Force (Police Executive Research Forum, 2016)
(highlighting the Seattle Police Department’s crisis intervention training).


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persons in crisis, the Department has customized in DAP a suite of specialized reports
specific to this Unit:
   • The Crisis Events data set allows the user to view information regarding crisis
     events by officer, squad, unit, precinct/section, and bureau of the officer, as well
     as the location of the event. Information as to whether or not the responding
     officer is CIT certified is also available.


   • The CAD (Computer Aided Dispatch) Events to Crisis Events data set combines the
     functionality of both the CAD Events data set and the Crisis Events data set to allow
     the user to view all CAD Events with an associated Crisis Template (a screenshot of
     this dashboard, provided for illustrative purposes, is presented below in Figure 1).


   • The Crisis Events to Use of Force data set combines the functionality of both the
     Crisis Events data set and the Use of Force data set to allow the user to view all
     Crisis Events with an associated Use of Force incident.


   • The Crisis Response Team data set combines selected functionality of Crisis Event
     and CAD information along with General Offense and Street Check information to
     allow the user to review information regarding events that are routed, notified, or
     assigned to the Crisis Response Team for follow up investigation.


Additionally, in last year’s report, the Department previewed the release of a public-
facing dashboard that will allow the public to explore for itself this subset of SPD
responses. This dashboard is now online, providing aggregated information of the nearly
35,000 crisis calls to which SPD officers responded over the last three years.
The Consent Decree contains eight paragraphs setting forth SPD’s obligations with
respect to Crisis Intervention; all are addressed in this report.




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         SPD will continue its work in providing training in verbal tactics with the
         goal of reducing the use of force against individuals in behavioral or
         mental health crisis, or who are under the influence of drugs or alcohol,
         and to direct or refer such individuals to the appropriate services where
         possible. … SPD will continue to provide Crisis Intervention training as
         needed to ensure that CI trained officers are available on all shifts to
         respond to incidents or calls involving individuals known or suspected to
         have a mental illness, substance abuse, or a behavioral crisis (“individuals
         in crisis”).
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         SPD officers who do not receive the [40 hour CIT Certification Training) will
         receive basic training on crisis intervention. This training should include a
         subset of topics and training methods included in the CI training, and will
         also explain the circumstances in which a CI trained officer should be
         dispatched or consulted, and how situations involving impaired subjects
         should be addressed when a CI trained officer cannot respond.
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In 2017, the Education and Training Section (ETS) and the Crisis Response Unit (CRU)
began delivering ‘e-module’ CIT training to be able to deliver classroom-based training
more efficiently, in both time and cost. E-module’ training can be viewed from any
networked SPD computer and allows officers to revisit the curriculum as they wish to
access resources provided. In addition, consistent with the ICAT (Integrating
Communications, Assessment, and Tactics) model for learning, SPD is increasingly
delivering CIT/de-escalation training in different formats and decentralized under
different “core” blocks of training, reinforcing skills learned across different situations.
Table 1 shows a breakdown of training blocks during 2017 that included a CIT component,
the number of eligible2 employees who completed the training, and number of
employees referred to the Office of Police Accountability for failure to complete training.




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   “Eligible” employees exclude employees who are on extended leave or otherwise unavailable for
training, per Human Resources determination. Where no HR reason is apparent, the issue is referred to
OPA, which conducts the investigation into whether there is a breach of policy.

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       To be considered “CI trained,” SPD officers will be required to undergo a
       40-hour initial comprehensive CI training, and eight hours of in-service CI
       training annually thereafter. SPD’s CI training will continue to address
       field evaluation, suicide intervention, community mental health resources,
       crisis de-escalation, and scenario exercises. The training may include on-
       site visitation to mental health facilities and interaction with individuals
       with a mental illness. Additionally, the CI training will provide clear
       guidance as to when an officer may detain an individual solely because of
       his/her crisis.
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SPD continues to send officers to the 40-hour CIT Certification course, administered by
the Washington State Criminal Justice Training Commission (WSCJTC). Although seats are
limited (in order to accommodate all agencies in King County), in 2017, 118 SPD officers
attended this program.
Officers who attend the 40-hour class are still required to complete the current SPD
training cycle CIT training.
       SPD will ensure that all dispatchers are appropriately trained to identify
       calls for service involving individuals in crisis and dispatch CI trained
       officers to the crisis event.
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The Communications Section delivers a three-hour Crisis Intervention Identification
Course to all new personnel hired into the Section, and roll-call training throughout the
year. In 2017, topics of roll-call training included:
    • Community Resources – Crisis Clinic (now Crisis Connections)
    • American Medical Response (AMR) for Crisis calls
    • Individuals in Behavioral Crisis – A review for call processing and dispatching.


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Between January 1, 2017 and June 30, 2018, officers reported ϭϱ͕ϵϵϱ contacts with
people believed to be in behavioral crisis. Year over year, these numbers reflect a 9%
(n=842) increase from 2016 to 2017 and a 20% (n=949) during the first six months of 2018
relative to the same six-month period in 2017. See Table 2.
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Across the study period, 91.98% (13,185) of all reported crisis contacts originated from a
call for service to which an officer was dispatched; officers self-initiated (“on-viewed”)
the contact in 8.02% (1,150) 3 of crisis reports.4




3
  Call time is used, derived from the “Original Time Queued” (OTQ) of the underlying call, in place of
Reported Date / Time. Reported Date / Time is often reflective of when the officer wrote the crisis
template and is believed to be temporally distinct from the time when the contact occurred. OTQ is logged
by the 911 Communications Center, at the time the call is queued in the CAD system and is believed to be
a reliable date / time stamp, suitable for temporal analysis.

4
  Approximately 10% (1658) of crisis templates could not be associated to an underlying CAD event. In
order to associate a crisis template to a CAD call, the officer must first locate and relate the underlying
call. It is common for officers to wait until the end of their shift, after they have returned to the precinct,
to “write up” low-level contacts, making it difficult to search for a specific event. MK43 will make relating
a crisis contact to a CAD event more intuitive and confident by aggregating the calls an officer has logged
to, in the User Interface (UI), allowing the officer to locate and associate an event.


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                                                                        Overall, dispatched crisis
                                                                        contacts in 2017 were up ϭϮй
                                                                        over the preceding year. KǀĞƌ
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                                                                        On-viewed crisis contacts were
                                                                        up 5.4% in 2017 compared to
                                                                        2016 and were up by nearly
                                                                        30% over the first six months
                                                                        of 2018 relative to the same
                                                                        time period in 2017. See
                                                                        Figure 1.




While the continuing increase in the number of crisis incidents is concerning, and certainly
reflects the urgency of expanding supportive services for this vulnerable population, there
is no indication that the increase in crisis contacts is straining SPD’s resources or leading
to worsened outcomes (due, in part, to greater number of officers with CIT training).
Regression of the time series indicates a strong5 and highly significant (r2=.61, p<.0001)
curvilinear (exponential) effect or trend in reports over time, suggesting a continuous
effect (rather than an unexpected, one-time event) is responsible for the observed
increase in reports. See Figure 2.




5
    Cohen, J. (1992). A power primer. Psychological bulletin, 112(1), 155.


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Crisis contacts result from a request from the community (dispatched) or officer-initiated
behavior (on-view). The green line, above, represents the cumulative increase observed
in reports of contact with people in behavioral crisis; the blue and orange lines represent
crisis contacts dispatched, and on-viewed, respectively. Month-by-month, the increase
in reports is attributable to dispatched calls for service; note that the orange line remains
relatively flat across the time series, while the blue line is trending up. This apparent
visual trend is confirmed empirically by the fit of a strong, highly significant trend model. 6
Crisis contact reports remain fairly evenly distributed across the days of the week,
between 13% and 15%. See Figure 3.
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6
  Regression of the time series indicates a strong and highly significant (r2=.75, p<.0001) curvilinear
(exponential) effect or trend in reports over time.

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No meaningful patterns were observed over the days of the week or year over year. Trend
analysis (linear and curvilinear regression) failed to identify any specific form over the
week and descriptive statistics suggest, dispatched crisis contacts by day of week have
not changed in any consistent way, year over year.
As shown in Figure 4, over the 18-month study period the average number of dispatched
crisis contacts per hour rose from a substantially negatively skewed (-1.4) .8 to a
comparatively symmetrical (normally distributed) 17.
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Observations ranged between .9 and 1.1 crisis contacts per hour over 95% of the
distribution. Between 2017 and the first half of 2018, the average was observed to
increase, consistent with other observations of trend, from .9 to 1.1, with both years,

7
    SD = .4, skewness = .6, kurtosis = .02

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taken independently, beginning to demonstrate some skewness (-.86 and -.83
respectively). Across all three years, the form of the line remained consistent, with a
highly significant, two period polynomial pattern (curvilinear regression) and strong effect
(.68 to .88) suggesting a predictable low between 2 AM and 6 AM, a spike toward the
noon hour and a period maximum around 8 PM or 9 PM.
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                                        Ninety-nine percent of all crisis contacts could be
                                        mapped to a location in the City of Seattle. As
                                        shown in Figure 5, the largest concentration of
                                        contacts occurred in the North Precinct (30%);
                                        fewer than 9% of all crisis contacts were reported
                                        in the Southwest Precinct.
                                        These proportions remain fairly stable when
                                        considering only dispatched crisis events.
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Comparing complete years, 2016 over 2017 (the
only full year of the study period), dispatched
crisis events were seen to increase in every
precinct except East, which showed a decrease
of 1.74%.
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With that exception, the distribution of crisis remained relatively stable, suggesting that
crisis events have increased in every area of the city. The North Precinct reported a nearly
20% increase in requests for response, resulting in the documentation of a person
believed to be experiencing behavioral crisis. West Precinct reported the second highest
increase (16.6%), followed by Southwest (15.17%) and South (8.9%).8
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8
  When reporting on population data (not a sample), any observed difference is believed to be a real and
true difference. Statistical significance testing is not required or appropriate. The meaning of the
difference may be interpreted within the context of a properly formulated research question, however.
See Carver, R. (1978). The case against statistical significance testing. Harvard Educational Review, 48(3),
378-399; Johnson, D. H. (1999). The insignificance of statistical significance testing. The journal of wildlife
management, 763-772.

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To the extent that any trend over time can be derived from the relatively short time
period of this, and the prior year’s, study, some interesting observations emerge. While
a comparison of the full years’ data period of 2016 to 2017 shows increases in all precincts
except East, with a relatively stable distribution year over year (see Figure 7), a
comparison of the first six months of each of 2016, 2017, and 2018 show a very different
pattern.

Figure 8 presents a comparison of percentage change in dispatched crisis calls between
January-June 2017 relative to the same time period of 2016 (left) and the percentage
change between January-June 2018 relative to the same time period of 2017 (right).

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While the relative distribution, again, remained fairly unchanged, both West and East
Precincts reported a substantial increase in dispatched calls to crisis events over the first
six months of 2018 (31.27% and 30.7% respectively), as compared to a relatively small
(4.37%) increase in West and a decline (6.21%) over the first six months of 2017. The
most notable effect was observed in the South Precinct, which reported a 55% increase
in dispatched crisis contacts in the first half of 2018 relative to a 5.94% increase over the
first six months of 2017.

At the Sector level, while three Sectors in each of East and West Precincts reported
declines in dispatched crisis calls during the first half of 2017, all saw increases over the
same period in 2018. Most notably, Edward Sector (East Precinct) and David Sector (West
Precinct) reported 50% and 60% increases, respectively. See Figure 9.

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In the South Precinct, which observed a 55% increase in dispatched crisis contacts in the
first half of 2018, Sam Sector in particular saw a more than two-thirds increase (70.5%),
over the same period in 2018. See Figure 10.

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This increase in Sam Sector likely reflects an increase in services associated with a
supportive housing facility that opened in February 2018. It should be noted that a full
80% percent of patrol officers in Sam Sector are CI certified, and presently there is no
indication that any staffing adjustment is needed to absorb the rise in crisis contacts.




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           ͘ ^ƚĂĨĨŝŶŐ
Staffing of CIT certified9 personnel in the Operations Bureau10 increased by 8.2% between
January 2017 and June 2018. This significant, medium effect trend11 is shown in Figure 11.
On average, 60% of personnel assigned to and responsible for 911 response were CIT
certified, during the study period.12
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Figure 12 shows the average daily deployment of CIT certified officers. On average,
58.96% of deployed resources were CIT certified.13 First Watch 911 response units
reported the highest average daily deployment of CIT certified officers, a normal14

9
  CIT Certification is a voluntary certification maintained under the “Memphis Model.” Officers must
receive a 40-hour training and elect to be part of the certification group.

10
  Because the Operations Bureau (which includes Patrol (911 response units), the Anti-Crime Team, and
the Crisis Response Unit) is the response bureau to dispatched crisis calls, this analysis focuses exclusively
on this Bureau.

11 2
     r = .35, p<.0007

12
     SD = 2.6%, Skewness = -.9, Kurtosis = .01

13
     SD = 6.53%, Skewness = .1, Kurtosis = -.7

14
     SD = 4.26, Skewness = -.2, Kurtosis = -.3

                                                     15
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65.37%. Third Watch 911 response units were observed to deploy the smallest proportion
of CIT certified personnel, with a daily average rate of 55.29% of the watch.15
These numbers exceed those saturation levels for CI certified staffing generally accepted
in law enforcement practice and in the academic literature (which vary between 10% of
a department overall16 to 25% of patrol.17)
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Cumulatively, across all personnel, the South Precinct reported the highest number of
deployed CI certified personnel (70.17%), followed by the Southwest Precinct (62.88%).
The East Precinct deployed the fewest CIT certified personnel, 55.56%. Across rank in the
Operations Bureau, cumulatively, Acting Police Sergeants were found with the highest
rate of certification (78.4%), followed by Police Officers (67.9%), Acting Detectives (62.5%)



15
     SD = 4.69, Skewness = -.02, Kurtosis = -.46

16
  Morabito, M.S., M. Watson, J. Draine. (2013). “Police Officer Acceptance of New Innovation: The Case
of Crisis Intervention Teams”, Policing: An International Journal of Police Strategies and Management,
36:2; 421-436.

17
  Watson, A.C., M.S. Morabito, J. Draine, and V. Ottati. (2008). “Improving Police Response to Persons
with Mental Illness: A Multi-Level Conceptualization of CIT.” International Journal of Law and Psychiatry.
31(4): 359-368.


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and Police Sergeants (61.26%). Detectives and Lieutenants (acting and permanent),
ranged between 40% and 45%. 36% of Operations Bureau Captains were CIT certified.
These data are presented in Tables 3 and 4, respectively. 
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       ͘ ĞƉůŽǇŵĞŶƚ
       SPD will maintain its program of dispatching CI trained officers to incidents
       or calls involving individuals in crisis.
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       CI trained officers will take the lead, when appropriate, in interacting with
       individuals in crisis. If a supervisor has assumed responsibility for the
       scene, the supervisor will seek the input of CI trained officers on strategies
       for resolving the crisis event where it is reasonable and practical to do so.
ŽŶƐĞŶƚĞĐƌĞĞ͕ΒϭϯϮ͘
Between January 2017 and June 30, 2018, the Department dispatched ϭ͕ϯϳϲ͕ϳϮϰ officers
to ϲϯϴ͕ϵϴϰ total Calls for Service (CFS). Across these 638,984 CFS, at least one CIT certified
officer was on scene a little more than half the time (51.26%). See Figure 13.




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Of the 638,984 total calls for service during this study period, ϭϰ͕ϭϵϵ (2.2%) resulted in
the documentation of at least one crisis contact.18 A CIT-certified officer was on-scene in
nearly ϴϬй (79.3%) of these events; approximately ϰϴ͘ϳϱй of these events were reported
by a CIT certified officer, indicating they were primary on the contact.
A breakdown of responses by certification status, across watch, is shown in Figure 14.
Following the pattern observed in earlier sections, 40.65% of all calls involving a crisis
contact occur during the Second Watch operational period;19 a CIT-certified officers was

18
  With record growth, CFS have been trending up for several years. Observations of the crisis rate,
controlling for inflation in call volume, suggest the observed effect in crisis contacts is not related to an
overall increase in call volume.

19
  The SPD operates a 24-hour schedule, with 6 overlapping (early and late) 9.5 hour shifts, organized into
3 “Watches.” This is done to accommodate shift change and briefings. At any given time, at least one full
watch (half of the previous and half of the next) are “in service” and available for calls.

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on-scene in 82.9%. Just under 25% of all crisis calls occurred on First Watch; of those, a
CIT-certified officer was on-scene in 79%.
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Across Third Watch calls, approximately 25% were reported as showing no CIT-certified
officer on-scene, despite a CI-certified officer being logged to calls nearly 50% of the time.
Although there is, facially,20 no indication that the presence or absence of a CI certified
officer has a meaningful difference in the ultimate disposition of crisis incidents (as
discussed later in this report and likely reflective of the robust continuing training in crisis

20
   The Department is presently partnered with the John Jay College of Criminal Justice to explore the
effects, with respect to outcomes, of the 40-hour CI training relative to the 8-hour trainings.


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intervention that all officers receive, annually) a closer review of Third Watch calls, by
initial call type, may offer some insight into this gap. See Figure 15. A breakdown of crisis
call by initial dispatch indicates that the majority of events to which a CI certified officer
was dispatched, but did not arrive, were associated with Priority 1 calls that were
classified initially by the Communication Center as “SUICIDE…” In Progress (IP) or Just
Occurred (JO). In such cases, is it likely that the immediacy of the need to transport for
medical care negated the necessity of a CI certified officer response.
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A distribution of all initial call types across all dispatched crisis events is shown in Figure
16. Cumulatively, 40% of all CFS are identified by Communication Center personnel, at
the time the calls are queued for dispatch, as one of two call types likely involving
someone in crisis. The largest single proportion (21.59%) of crisis related CFS are
classified, initially, by the Communication Center as “SUICIDE – IP/JO…” In Progress (IP)
or Just Occurred (JO). 17.86% of incoming CFS are classified as “PERSON IN BEHAVIORAL
/ EMOTIONAL CRISIS.”
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A distribution of final call types across all dispatched crisis events is shown in Figure 17.
Three-quarters (75.22%) of all calls for service involving a crisis contact are classified by
the primary officer as a crisis event, specifically (“CRISIS COMPLAINT – GENERAL”) at the
time the call is closed. The remaining quarter of calls are classified at the next highest or
urgent classification type; of these, the next largest single clearance type represented
during the study period accounts for just 2.87% of all CFS, “ASSAULTS OTHER.”
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Conservatively,21 approximately 50% (49.4%) of all calls eventually closed as “CRISIS
COMPLAINT…” are identified as crisis events and handled by the Communication Center
as potentially crisis-involved. Another 8.64% are classified as “DISTURBANCE…OTHER”
and no other proportion of initial call types is represented above 3.38% (“SERVICE –
WELFARE CHECK”). Approximately 94% of all calls originally classified as either suicide or
crisis, were closed as crisis complaints (e.g. domestic violence related criminal offenses,
including assault). See Figure 18.
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21
  This is a conservative estimate because “crisis” is likely an attribute of a proportion of calls closed by a
higher call type, often one involving a criminal offense, where the crisis contact is a secondary attribute
of the event.

                                                     23
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On average, response time22 to calls resulting in the documentation of a person believed
to be in behavioral crisis was 20.5 min23 over the study period, a 14% increase over the
previous year (2016), 17.91 min.24 See Figure 19.25
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This increase was observed to be a continuous, exponential26 trend with highly significant, large
effect on the model.27 There is not enough data to conduct a meaningful analysis across precinct


22
  Response time, in this case, is calculated as the difference between the time the call was dispatched
and when the first officer arrived. It does not include “dispatch lag” or the time between when the call is
queued and when it is dispatched to the officers. Given the myriad factors that contribute to dispatch lag,
the response time calculation was constrained to reflect officer behavior. Future evaluations should focus
on dispatch lag and its impact on the overall time to respond.

23
     The distribution was relatively normal. SD = 2.1, Skewness = .4, Kurtosis = -.01 suggesting symmetry.

24
     SD = 1.94, Skewness = .4, Kurtosis = -.2 suggesting symmetry.

25
  Different models were used to estimate would could happen if the trend continues. An optimized
forecasting model utilizing the Akaike Information Criteria (AIC) statistic identified the presence of an
additive trend and rendered a slightly more sophisticated projection a 3.13 min increase in the response
time, July 2019, slightly higher than the curvilinear projection (2.87 min).

26
  Both linear and curvilinear models were fit, with the best fit found in an exponential form, suggesting a
steepening trend or additive effect over time. This form is confirmed by the forecast model.

27 2
     r =.6, p<.0001



                                                      24
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and watch.28 If this trend continues, SPD will consider whether adjustments to its staffing model
are warranted.

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        SPD will continue and expand its tracking of information regarding SPD’s
        interactions with individuals in crisis and provide this data to SPD’s current
        CI Team. SPD will consult with the CIC to determine what interactions
        result in data collection, and the types of information to be collected based
        on the level of interaction.           Subject to the CIC’s review and
        recommendations, and applicable law, SPD should gather and track the
        following data:
        a) Date, time and location of the incident;
        b) Subject’s name, age, gender and address;
        c) Whether the subject was armed, and the type of weapon;
        d) Whether the subject is a U.S. military veteran29;
        e) Complainant’s name and address;
        f) Name and badge number of the officer on scene;
        g) Whether a supervisor responded to the scene;
        h) Techniques or equipment used;
        i) Any injuries to officers, subject, or others;
        j) Disposition; and
        k) Brief narrative of the event (if not included in any other document).

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The data collected for this report show that SPD continues to comply with Paragraph 137.
First, SPD Manual Section 16.110 requires that officers document all contacts with



28
  When across precinct and watch, in monthly and weekly averages, the distribution becomes distinctly
asymmetrical, counter indicative of the use of an average and suggestive of a high degree of situational
variability in the data. When disarticulated, and viewed at the watch level alone, medium effect but still
highly significant trends (r2=.39 & .43 (respectively), p<.0001) were observed in both 1st and 2nd Watches,
with the steepest tend in 2nd Watch response times, 58% (2016 over June 2018). A 4.07 min increase (17%)
during the study period, 23.55 to 27.62.

29
  The term “veteran” has since been changed in SPD’s reporting format to “served in the military” at the
request of the CIC, as some veterans do not identify as such. The “served in the military” data does not
distinguish between the United States military or the military or that of another country.


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subjects who are in any type of behavior crisis with the above data, where available. 30
After an interaction with a community member who is in crisis, an officer must fill out a
“crisis template,” answering questions about the subject’s behavior, the outcome or
“disposition” of the interaction, perceived demographic characteristics (where
appropriate/possible), and other information. Presently, this documentation is
completed through the Versaterm Records Management System (RMS), which is
configured with a template designed to capture certain data in structured fields, including
disposition of events, as shown in Figure 20.
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Compliance with this requirement is audited, daily, by the Crisis Response Unit
Supervisor, who reviews each template submitted for completeness and thoroughness;
in addition, the Crisis Intervention Coordinator and Commander review significant
incident reports (see SPD Manual Section 15.350) as they are issued to ensure that where
there are indications of crisis incidents, a template has been submitted.
Across the 18-month study period, the most frequent disposition noted was “Emergent
Detention / ITA” (34.8%) followed by “No Action Possible or Necessary” (18.9%),
cumulatively accounting for more than half of all templates. In just 9.7% of cases the
officer indicated the subject was arrested.



30
  By law, complainants are not required to give their names, for example, nor are subjects unless arrested.
Often, particularly in the case of emergent detentions, officers are not able to obtain subjects’ names,
age, gender, or address.

                                                    26
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Comparisons of dispositions in 2017 relative to 2016, and over the first six months of 2018
relative to the same time period in 2017, are shown in Figure 21 and 22, respectively.

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Although the Department has not been tracking this data long enough to draw any strong
conclusions, overall the changes in disposition from 2016 to 2017 appear to be expected,
random fluctuations. Between 2016 and 2017, dispositions of “Emergent Detentions…”
and “No Action…” increased by 5.3% and 18.3% increase, respectively. The disposition
“Resources Declined” increased 18% over that same time period, but flattened slightly
(13.1%) over the first six months of 2018 relative to the same period in 2018. “Emergent
Detention” dispositions steepened (32.9%) in 2018,31 but remained relatively stable as a
proportion of the whole, at 35.48%. The disposition “Subject Arrested” increased 24.1%
between 2016 and 2017, steepened slightly to 30.1% over the first six months of 2018
31
   Anecdotally, officers are reporting an increase in the level of ‘acute’ behavior exhibited by individuals
in behavioral crisis, necessitating an ITA (Involuntary Treatment Act / Community care taking) response.


                                                    28
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relative to 2017 over the same period in 2018, but overall remained proportionately
stable at approximately 9.7%.
Of note, referrals to designated crisis responders (DCR)32 increased by over 103% over the
first six months of 2018 relative to the same time period in 2017. This is likely reflective
of additional training with respect to how officers can make DCR community referrals in
instances where the individual does not meet the statutory requirements to articulate an
Involuntary Treatment Act referral to an Emergency Department.
Some dispositions were seen to decline (cumulatively, 14.5%) over the study period
(shown in blue, above), including Mobile Crisis Team responses, notifications to Mental
Health Agency or Case Manager, Crisis Clinic, Shelter Transport, Drug / Alcohol Treatment
Referral, and Geriatric Regional Assessment Team. Attempts to model trends across
dispositions observed with the most movement (up and down), however, failed to find
sufficient fit. In other words, no meaningful conclusions could be drawn from this data,
because the number of dispositions was too small and the time period too short. SPD will
continue to track these dispositions to watch for any trend that may require adjustments
in approach.

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Of the 15,995 crisis contacts reported during the study period, reportable force occurred
in just 277 (1.7%) of all crisis contacts, comprising 557 total uses of force. The rate of
force over the 18-month period remained relatively stable between 1.3% and 1.8% and
did not support trend analysis.33
A breakdown of the 557 reported uses of force across these 277 incidents is shown in
Figure 23.




32 A designated crisis responder, or DCR (formerly titled a Designated Mental Health Professional,

or DHMP), is a mental health professional appointed by the county, an entity appointed by the
county, or the behavioral health organization to perform duties relating to the detention or
treatment of mental health patients. See generally RCW Chapter 71.05.

33While reportable force occurred in just 1.7% of crisis contacts, crisis was reported in
approximately 25% of all use of force.

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                                                      Similar to City-wide use of force
                                                      distributions by type, 75% of force
                                                      reported associated with a crisis
                                                      contact was classified at the lowest
                                                      level, Type I. Just five uses of force
                                                      (.9%) were classified at the highest
                                                      level, Type III.
                                                      The only significant departure from
                                                      citywide use of force patterns was
                                                      in reported Type II force, which
                                                      was observed to be approximately
                                                      15% above the distribution of all
                                                      force (20.27%) for the same
                                                      period, 34.6%. See Figure 24.
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Because the Department began tracking this data only recently, and due to the relatively
small number of uses of force associated with a person in behavioral crisis, it is not clear
if Figure 24 represents a normal fluctuation or a genuine trend. While hypotheses can be
drawn, and explored in upcoming work,34 it is also likely that use of force in incidents with
a behavioral crisis component represents a distinct class of data in which an observed
difference in the distribution of force type would be expected. SPD will continue to
monitor Type II force in crisis incidents and, if warranted, explore it further in its next
report.35
As shown in Table 5, little difference was observed between crisis-involved and non-crisis
involved use of force and officer certification. In both cases, the observed certification
rate for involved officers was approximately 20%.
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Figure 25 shows a comparison of the demographics of subjects of use of force subjects 36
in crisis-involved and non-crisis incidents over the 18-month study period.
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34
   Data from both the Seattle Fire Department and the King County Medical Examiner, for example, show
a rising trend in the number of incidents involving the use of methamphetamine – a category of narcotic
known to cause violent and erratic behavior. Other departments around the country are likewise
reporting, anecdotally, an increase in the intensity of crisis incidents that they suspect to be linked to the
rise in methamphetamine. Over the next year, SPD intends to partner with SFD to explore commonalities
or trends with respect to observed behaviors and incident outcome.
36
  Community members are not often required to be identified in a crisis contact. Given the large amount
of unrecorded data, demographic details are not presented within the context of all crisis contacts but as
a representation of subjects of UoF, instead.

                                                     31
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In both comparison groups (crisis-involved and non-crisis incidents), subjects identified as
“White” make up the largest portion of both distributions (46.67% and 38.13%
respectively) but are slightly overrepresented in crisis-involved incidents. Conversely,
subjects identifying as “Black or African American” were slightly underrepresented
(23.24% and 32.18%). In both groups, between 23.4% and 20.4% were listed as race, “Not
Specified.” These over- and underrepresentations, although slight, may be a fruitful topic
for future study.
The distribution of gender, shown in Figure 26, was relatively equal. In approximately
three-quarters of all UoF, regardless of whether the incident involved a crisis complaint,
the subject identified as male. Between 21.05% and 23.96% of subjects identified as
female.




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          SPD will review the outcome data generated through the process
          described [in paragraph 136], and may use the data for developing
          case studies for roll call and CI training, recognizing and highlighting
          successful individual officer performance, developing new response
          strategies for repeat calls for service, identifying training needs for the
          annual in-service CI training, making CI training curriculum changes, or
          identifying systemic issues that impeded SPD’s ability to provide an
          appropriate response to a behavioral crisis event.
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The data analytics platform (DAP) is utilized by the Crisis Intervention Team Coordinator
(CIT coordinator) to implement and sustain the SPD Crisis Intervention Program on a
weekly basis. The CIT coordinator utilizes the information to identify trends, volume,
emerging high utilizers of police services (often undiagnosed / underserved mental health
resource consumers), etc. The CIT Coordinator utilizes this information to inform the
community service providers / Behavioral Health Organization (BHO) who are responsible
for providing care and funding for this vulnerable population. Through the DAP, the CIT


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coordinator can articulate gaps in the emergency mental health care system from
anecdotal stories to data-based accounting of what SPD is encountering in the field. This
ability has proven invaluable in allowing SPD to drive meaningful discussions with the
Crisis Intervention Committee around SPD policies, practices, and strengthening
relationships with community care partners.
The DAP also informs the work of the CRU while performing their function of creating
response plans for those disproportionate utilizers of SPD services. The DAP allows for
almost ‘real time’ analysis on the effectiveness of the plan which was created and
disseminated. Additionally, the high-utilizer dashboard displays information which assists
the CRU in identifying cyclical crisis patterns.
This capacity demonstrates that not only is the Department in continuing compliance with
paragraph 137 of the Consent Decree, but it is analyzing, and leveraging, its data in
increasingly sophisticated and innovative ways.
In addition to exploratory research with the Seattle Fire Department and the King County
Medical Examiner regarding trends in behaviors associated with changing patterns of
substance use and its partnership around CI training with John Jay College of Criminal
Justice (see footnotes 20 and 34), the Department is separately evaluating the feasibility
of undertaking studies relating specifically to the nature of crisis incidents that result in a
custodial arrest, for purposes of examining the current landscapes of both pre-booking
and post-booking diversion opportunities. While present data would allow for a reporting
of what an individual was arrested for, a more detailed, qualitative analysis may provide
insight into why an individual was arrested, particularly in instances in which the
underlying criminal behavior may be that of a low-level, otherwise divertible
misdemeanor. A working hypothesis would be that in such instances, an individual’s lack
of behavioral control and the possible impact on public safety, if left in the community,
requires the custodial arrest; such data may, ideally, provide actionable knowledge to
drive alternative support options in lieu of arrest.
Finally, in March 2019, the Department will transition from its current records
management system to a new model for capturing more complete and consistent data
around its community contacts. This system, which will include more granulated fielded
data points than the current system, will feed into the DAP, allowing for greater cross-
linkage of data across incidents. A preliminary discussion of the impact of this system in
analyzing crisis incidents, and SPD’s responses, will be presented in next year’s report.




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            APPENDIX B
 Type II Use of Force Qualitative Review
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Table 6: Force Review Board Referrals to OPA – Use of Force
 GO          FRB Review                                                        OPA Determination
 Number
 17-470105   West Precinct officers were dispatched to a male in crisis        OPA reviewed six allegations in total
             who was talking to himself and waiving a steak knife in the       (three relating to each Named
             air. When officers arrived, the subject had fled on foot and      Employee (NE) relating to de-
             was not located. A short time later, East Precinct officers       escalation, the use of the Taser
             were dispatched regarding the same subject, who was               specifically, and the authorization
             again talking to himself, while waiving a knife in the air. The   for use of force.
             East Precinct officers located the male and approached him
             in their patrol vehicle. The subject put his hands in his         As to all allegations, OPA issued
             pockets, walked towards the patrol car, then suddenly ran         findings of “Not Sustained – Lawful
             past the officers and down the street. Officers exited their      and Proper.”
             patrol vehicle and followed the subject on foot. Officer A
             caught up to the subject and pushed him from behind,
             knocking him to the ground. When the subject fell, a knife
             was dislodged from the subject and fell to the ground.
             Officer A fell on top of the subject and attempted to gain
             control of his arms. Officer A and Officer B both gave the
             subject verbal commands, while attempting to physically
             restrain him. The subject continued to resist arrest and
             kept moving his hands towards his waist, where officers
             believed he had access to weapons. Each officer, believing
             the subject posed a threat to their safety, deployed their
             Tasers separately at the subject.           The first Taser
             deployment was unsuccessful (both probes did not make
             contact). After the first deployment, the second officer
             deployed his Taser with a drive stun application. The
             second Taser application was successful, allowing the two
             officers to gain control of the subject’s arms and apply
             handcuffs.

             The FRB identified as a training issue that the officers did
             not fully describe their actions and decision-making with
             respect to training concerning using time, distance, and
             shielding absent the need to take immediate action. Based
             on this deficiency in documentation, the FRB could not
             determine whether the officers took reasonable steps to
             de-escalate prior to using force, and referred the matter to
             OPA.
 18-098491   Anti-Crime Team officers located a felony warrant subject         OPA reviewed a total of 17
             walking into a local strip mall store and requested patrol        allegations against four officers
             officers to assist with his apprehension. The subject was         relating to de-escalation, use of
             known to run from officers upon contact and was                   force authorization, use of force
             considered dangerous due to previous firearms                     prohibitions, and professionalism.
             convictions. The backing officers arrived in the area and         As to all allegations relating to de-
             were directed by ACT officers to the subject. They made           escalation, OPA issued findings of
             verbal contact with the subject who responded by fleeing          “Not Sustained – Lawful and
             on foot. As the officers followed on foot, the subject            Proper.”      As to all allegations

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            realized he was trapped and gave himself up by lowering          relating    to    use     of    force
            himself to a seated position between two parked vehicles.        authorization, OPA issued findings
            Officers approached the subject and immediately applied          of “Not Sustained – Lawful and
            control holds, transitioning him to a prone handcuffing          Proper.”     As to all allegations
            position on the ground. When the officers began to               relating to use of force prohibition,
            position the subject’s arms behind his back, the subject         OPA issued findings of “Not
            pulled his left arm away from them. The subject then             Sustained – Unfounded.” As to all
            attempted to push himself up off the ground with his left        allegations        relating        to
            arm. The officers retained control of the left arm and           professionalism,      OPA     issued
            placed both the subject’s wrists into handcuffs. When            findings of “Not Sustained –
            officers began to escort the subject to a patrol vehicle, he     Unfounded.”
            actively resisted, and yelled/cursed at one officer. The
            subject dropped his body weight and laid on the ground.
            The officers determined they would carry the subject to the
            patrol vehicle, so four officers lifted him off the ground.
            While carrying the subject to the patrol vehicle, he made a
            complaint of pain that the officers broke his wrist.

            The FRB reviewed three separate uses of force - Type II
            force on the initial contact, and Type I contact post-contact.
            The FRB found that officers acted consistent with de-
            escalation tactics and training with regard to the initial
            contact (finding specifically that de-escalation was not safe
            or feasible), but found that officers did not appropriately
            seek to de-escalate post-contact, noting that, when the
            subject dropped his body weight, there was no exigency,
            and that officers could have taken a moment to reassess
            the situation and modulate their force, rather than using an
            untrained technique (picking up the subject).

            The FRB referred this issue to OPA.

            At the time of the FRB review, OPA was reviewing
            allegations concerning the Type II force that had been
            forwarded by FRU. The FRB accordingly deferred its
            findings to OPA.
18-101563   Officers were dispatched to assist AMR personnel at the          OPA noted that the incident had
            Crisis Solutions Center, where a patient threatened to kill      been screened with FIT, which had
            responders and damaged a wall. The officers arrived on-          declined to respond after it was
            scene and located the subject still arguing with staff           determined that the subject had no
            members and AMR personnel. The officers announced                injuries and this was only a
            their presence and identified themselves to the subject.         complaint of pain. OPA concluded
            They attempted to achieve cooperation from the subject           that the contact in question was
            by explaining the situation and options for a resolution.        captured by video and that the
            When the subject refused to cooperate, the officers              involved employee’s action to not
            determined the subject was in crisis and would be                appear to support the claim of
            involuntarily committed. AMR personnel attempted to              assault or excessive force. OPA
            place the subject into soft restraints but he began to resist    determined, however, that in light
            them. The officers stepped in to assist by holding the           of the subject’s comment “You just
            subject's arms, legs, and wrists so that he could be placed      broke my wrist. It snapped. This is
            into soft restraints. While officers were restraining the
                                                      2
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             subject's right arm, he yelled out that an officer broke his     an assault[,]” the chain should have
             wrist. The officer repositioned his hold on the subject's arm    referred the allegation to OPA.
             and continued to hold him until the soft restraints were
             applied. The officers notified their sergeant of the situation   OPA issued a supervisor action
             and requested he come to the scene. AMR personnel                notice requesting roll call training to
             evaluated the subject for injuries and noted he complained       remind officers and supervisors to
             about his left wrist being injured not his right wrist, as he    report alleged force, rather than
             had initially claimed. During the interview with the             just consulting FIT.
             investigating sergeant, the subject recanted his story and
             claimed he was not injured. The subject was transported to
             HMC via AMR for a mental evaluation. (Note: this case was
             screened by FIT, which concurred in the Type II
             investigation.) The FRB found the officers’ efforts to de-
             escalate, and the force used, to be consistent with policy.
             However, in light of the subject’s complaints, in an
             abundance of caution and after consultation with the OPA
             Director, the complaint of force was submitted to OPA for
             review.




In one case, the FRB found the officers’ actions to be consistent with use of force policy
and training, but referred to OPA allegations concerning separate possible policy
violations. OPA returned this case for supervisor action. This case is described in Table
7.
Table 7: Force Review Board Referrals to OPA - Other

    GO                              FRB Review                                     OPA Determination
  Number
 17-069129    Officers A and B were patrolling on bikes when they on-         OPA referred the case back to the
              viewed a subject camping on city property. Officers             chain for a supervisor action,
              contacted the subject and requested identification. The         requesting that the chain review
              subject refused to provide identification to officers. The      with the named employee (1)
              officers believed he was trying to conceal his identity in      Manual Section 15.360 concerning
              order to hide a possible warrant. The officers called for a     the Mobile Fingerprint Device and
              Mobile Fingerprint ID Device to be brought to the scene.        circumstances in which it can be
              While waiting for the Mobile ID to be delivered, the            used; and (2) the need to document
              subject stood up to stretch, then fled on foot from             that if property belonging to an
              officers. Officer A chased after the subject. He was able       arrested person is left in place, to
              to catch up to the subject and grab him from behind. The        make note of that in the GO report
              momentum of grabbing the subject while running                  to avoid concerns regarding
              knocked both the subject and Officer A to the ground.           property disposition.
              Officer C arrived and assisted Officer A. Both Officer A and
              Officer C tried to control the subject’s upper body. Officer
              B arrived and held down the subject’s legs. The subject
              was able to retract his leg and kick Officer B in the knee.
              In response to the subject’s assaultive behavior, after
              hearing that Officer B had been assaulted, Officer C
                                                       3
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              provided a closed punch strike to the subject’s face in an
              attempt to stop the assault on Officer B. The struggled
              continued until officers were able to successfully apply
              handcuffs and take the subject into custody.

              The FRB made OPA referrals concerning the use of the
              mobile Fingerprint ID device (Manual Sections 15.360 and
              6.220) and detainee management, regarding officers’
              decision to process into evidence only the subject’s
              backpack, rather than materials associated with the
              subject’s tent.




In nine cases (12.5%), OPA complaints, generated either by the Chain of Command (two
cases) or a third-party (either individually or as forwarded by the Chain of Command)
were pending at the time of the FRB review. Accordingly, FRB discussed tactics and
decision-making around the use of force, but deferred findings to OPA. Of these eight
cases, each containing multiple allegations, OPA sustained allegations relating to the
force itself in only one. These cases are described in Table 8.


Table 8: FRB Cases with OPA Review Pending
   GO                              FRB Review                                    OPA Determination
 Number
 17-078011   A resident called 911 to report a burglary in progress in the   As to NE #1, OPA determined the
             shed that was attached to the back of her house. The caller     allegation to be “Not Sustained –
             advised the suspect was still inside. Multiple officers were    Lawful and Proper.” As to NE #2,
             dispatched and immediately began setting up                     OPA issued a finding of “Not
             containment. One officer updated radio that he could see        Sustained – Inconclusive” based on
             the suspect standing in the victim’s backyard. The suspect      what OPA determined to be
             suddenly ran down the driveway towards Officer A, where         inconsistencies     in   NE     #2’s
             he had set up his containment position. Officer A drew his      statements as to whether the
             duty weapon, pointed it at the suspect, and ordered him to      takedown and control hold involved
             get on the ground. The suspect refused Officer A’s              the head, the face, and/or the neck.
             commands and continued to flee. Officer B and C observed
             the fleeing suspect and gave chase. They caught up to the
             suspect and were able to grab hold of him. The suspect
             began flailing his arms in an attempt to escape their grasp.
             Officers B and C used a team takedown to get the suspect
             on the ground to control his movements. Whlie on the
             ground, officers observed the butt of a firearm in the
             suspect’s waistband. Officers B and C used control holds to
             keep the suspect pinned to the ground until Officer A
             arrived to assist with handcuffing. Officers recovered two


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  GO                              FRB Review                                     OPA Determination
Number
            suspected firearms from the suspect’s waistband after he
            was in custody.

            The FRB found the officers’ actions consistent with de-
            escalation policy and found Officer A’s pointing of a firearm
            to be reasonable, necessary, and proportional. At the time
            of the FRB review, OPA was investigating a complaint by
            the subject that Officers B and C had used excessive force;
            FRB, accordingly, deferred to OPA’s findings.
17-185652   Officers were dispatched to an assault call where an            As to three allegations concerning
            unknown female punched the victim in the face. Officers         force reporting and investigation by
            located the suspect based on a description provided by the      NE #1, OPA issued, “Not Sustained
            victim. Following a positive identification, the suspect was    – Inconclusive,” “Sustained”, and
            taken into custody for assault. While being placed under        “Not     Sustained     –     Training
            arrest, the subject yelled and screamed at officers. The        Referrals”. As to the same three
            subject escalated by spitting on Officer A’s face. Officer A    allegations concerning NE #2, OPA
            forced the suspect’s head down onto the hood of the patrol      issued “Not Sustained – Training
            car to prevent her from spitting on officers. A spit sock was   Referrals” on each.       As to two
            placed on the subject’s head for transport and to prevent       allegations concerning standards
            further spitting. Due to the subject’s behavior, she was        and duties involving NE #3, OPA
            transported to the precinct for processing the use of force     issued a “Not Sustained –
            and arrest was subsequently screened at the precinct.           Inconclusive” on one and Sustained
                                                                            the second. As to two separate
            At the time of the FRB review, allegations concerning de-       force reporting allegations involving
            escalation and the use of force were under OPA review.          NE #3, OPA sustained one
            Additional issues identified by the FRB included                allegation and issued a “Not
            deficiencies in documentation (subsumed in the initial          Sustained – Training Referral” as to
            referral), to include lack of specific information concerning   the second. OPA sustained three
            that the force (placing her head on the car to prevent          allegations relating to the force
            spitting) involved a handcuffed subject, photographs of the     itself. OPA dismissed a complaint
            subject, and information as to whether the subject was          concerning the application of the
            closely monitored while wearing the spit sock. The FRB also     spit sock as “Not Sustained – Lawful
            noted that officers could have called ARM for a transport,      and Proper.” As to NE #4, OPA
            rather than using the patrol vehicle (Note: this option is no   sustained an allegation concerning
            longer available.)                                              duties and responsibilities and
                                                                            issued “Not Sustained – Training
                                                                            Referral” and “Not Sustained –
                                                                            Lawful and Proper” findings as to
                                                                            two allegations concerning force
                                                                            reporting and investigation.
17-269114   Officer A was working to address exclusionary zone              In total, OPA reviewed seven
            violations that were occurring on an Aurora Avenue off-         complaints concerning the use of
            ramp at Denny way after he noticed clothing and luggage         force, de-escalation, bias-free
            next to the roadway. He removed the items and was               policing, standards and duties
            preparing to leave when he was approached by the subject,       (professionalism) and standards
            who said that the was the owner of the items. Officer A         and duties – use of discretion. The
            attempted to explain why he removed the items, and the          OPA      Director    issued     “Not
            subject became upset. Officer A requested an additional         Sustained” findings as to all;

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  GO                              FRB Review                                      OPA Determination
Number
            officer to respond. Once the additional officer arrived, the     allegations concerning the use of
            subject refused to leave the roadway, causing a hazard for       force, de-escalation, and the arrest
            traffic and established probable cause for pedestrian            were found to be “Lawful and
            interference. The subject was advised that he was under          Proper;” allegations concerning
            arrest after he refused to move out of the street. When          bias     were     found    to    be
            officers went to take the subject into custody, he resisted      “Unfounded;” and one allegation
            their efforts. The officers took the subject to the ground,      concerning the use of discretion
            causing a scrape to his elbow. The subject then broke free       was       not      sustained      as
            and attempted to jump over a barrier onto a lower part of        “Inconclusive.”
            the roadway. The officers were able to stop the subject,
            overcome his resistance, and place him into a patrol
            vehicle. Later, after being placed in a holding cell, the
            subject was viewed on video banging his head into the
            walls, causing a laceration. He was treated by SFD and
            transported to HMC via AMR.

            At the time of the FRB review, OPA was reviewing several
            complaints by community members who had witnessed
            the interaction, as well as complaints by the subject who
            complained that he was subjected to excessive force,
            unlawfully arrested, harassed, and treated unfairly due to
            his housing and economic status.
17-360655   As every aspect of this case was taken under investigation by OPA based on a referral from the
            Downtown Emergency Services Center (DESC), the FRB deferred to OPA in full.

            The following summary is taken from the OPA Director’s Certification Memo:

            It was alleged that Named Employee #1 engaged in a number of policy violations during a physical
            altercation with the subject in a DESC building, including the use of excessive force and the failure
            to de-escalate. Named Employee #2, Named Employee #3, and Named Employee #4 were alleged
            to have potentially failed to report an allegation of serious misconduct and to have generated
            incorrect and incomplete paperwork. It was alleged that Named Employee #5 engaged in policy
            violations during his review of the force used and that Named Employee #6 violated policy during
            his classification and investigation of the force and by purportedly failing to investigate or refer an
            allegation of serious misconduct. Lastly, Named Employee #7 was also alleged to have failed to
            have reported an allegation of serious misconduct.

            On the date in question, Named Employee #1 (NE#1), Named Employee #2 (NE#2), Named
            Employee #3 (NE#3), and Named Employee #4 (NE#4) responded to a call for service at a DESC
            building. The call was regarding the subject, who was alleged to have attempted to assault a DESC
            employee and was refusing to leave the building. I note that the entirety of the officers’ response
            to this call was captured by Body Worn Video (BWV) and video cameras located at DESC. The
            responding Named Employees observed an individual lying on the floor of the DESC lobby, who
            was identified as the subject. The officers made contact with DESC employees, who told them that
            the subject threw a punch in the direction of a staff member but that it did not make contact. The
            DESC employees said that the subject then got onto the ground and would not leave when asked
            to do so. They told the officers that if the subject did not leave the vicinity, they wanted him to be
            trespassed. After speaking with the DESC employees, the officers moved into the lobby and made

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  GO                           FRB Review                                     OPA Determination
Number
         contact with the subject. They called the subject’s name and identified themselves as police
         officers. The officers told the subject that he needed to leave the building. NE#3 shined a flashlight
         on the top of the subject’s body and then she and NE#4 began to tap his feet to get him to wake
         up. NE#1 shook the subject’s shoulder. The subject told the officers to “get the fuck off of me”
         repeatedly. NE#1 told him that he should not talk to her like that. The officers, who were
         surrounding the subject, took a few steps back as the subject began to move around and
         continued to tell him to get up and leave the building. The subject stood up and again told the
         officers to “get the fuck off of me.” The subject took a step towards NE#1, pointed his finger in
         her face, and said “don’t you fucking come near me.” NE#1 pushed him back towards the wall
         with a straight hand and told him “do you want to do that?” The other officers converged on the
         subject. At that point, NE#1 claimed that the subject struck at her with his left hand and, when he
         did so, she “ducked” her head back and down. She stated, however, that the subject still hit her
         cheek with his hand. NE#1 reported that she did not know whether he struck her with an open
         hand or a closed fist. She further stated that he kicked his leg out at her. While explaining why she
         used force to OPA, NE#1 again stated that she was “assaulted” by the subject. In his use of force
         report, NE#2 stated that, after the subject stood up and began to interact with NE#1, he saw NE#1
         “abruptly move her head,” suggesting that she was either struck or that she had dodged an
         attempted assault. NE#2 did not report observing the subject make contact with NE#1. He
         remained consistent with this account at this OPA interview. NE#2 told OPA that he observed
         NE#1’s head move back as if she had been struck or was avoiding being struck but that he could
         not see exactly what happened given his positioning. He recalled that, after the incident occurred,
         NE#1 pointed to her mouth and asked whether she had any marks on her face. In her use of force
         report, NE#3 reported seeing the subject “strike [NE#1] on the face and continue to move towards
         her.” She reaffirmed at her OPA interview that she saw the subject strike NE#1.

         NE#4 reported that he observed that the subject “reached up and pushed” NE#1. He did not note
         seeing a strike to NE#1’s face in his use of force report. However, at his OPA interview, NE#4 said
         the following: “And then he just immediately, very quickly, just punches her or goes to punch her
         and fortunately she was able to defend herself.” As discussed below, appears to be inconsistent
         with his use of force statement.

         While NE#1’s BWV captured her initiation of the interaction with the subject and her first push to
         his body, it does not clearly show whether or not the subject struck her as she and NE#3 claimed.
         NE#2 was not equipped with BWV on that day. NE#3’s BWV did not, from my review, clearly show
         what occurred. NE#4’s BWV provided a fairly clear view of much of the lead up to the force. There
         was a moment where the right side of the subject’s body was not captured by the video and a
         noise was made that could suggest contact. (See NE#4’s BWV, at 6:45-6:46.) However, NE#4’s
         BWV does not conclusively show the subject ever striking or making physical contact with NE#1’s
         face.

         The altercation was also captured by DESC video. On this video, NE#1 and the subject can only
         partially be seen. Notably, the subject’s right side and NE#1’s left side are outside of the view of
         the camera. The video did show, however, apparent movement by the subject from his right side,
         which could be consistent with his striking at NE#1. It also showed NE#1 moving backwards
         immediately after the subject’s apparent movement. When she moved backwards, the entirety of
         her body was within the view of the camera. It is possible that in the second between the apparent
         movement by the subject and NE#1 moving into full view of the camera, her face was struck. (See
         DESC Video #1, at 1:55-1:56.) That being said, it is unclear from a review of the video whether that

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  GO                           FRB Review                                   OPA Determination
Number
         did, in fact, occur. NE#1 then engaged in a physical altercation with the subject. From my review
         of the BWV, she punched him approximately six times and kneed him at least twice. This is
         consistent with the force that NE#1, herself, reported. NE#2, NE#3, and NE#4 grabbed onto the
         subject’s arms and body and assisted NE#1 in taking him to the ground. As discussed more fully
         below, NE#1’s force was clearly Type II. I agree that the other Named Employees likely only used
         de minimis force during the takedown.

         From my review of BWV and DESC video, no further force was used against the subject when he
         was on the ground. He was handcuffed and the Seattle Fire Department (SFD) came to treat his
         injuries. He was bleeding from his mouth and nose areas, but apparently suffered no other
         significant physical harm. The subject continued to be uncooperative and would not let SFD
         personnel medically treat him.

         After the force occurred and while the subject was secured on the ground, Named Employee #6
         (NE#6) – the officers’ sergeant, Named Employee #7 (NE#7), and another officer and acting
         sergeant arrived on the scene. NE#6 directed a Type II use of force investigation and the steps he
         took in that regard were detailed on BWV. The investigation and related documentation were
         reviewed by the officers’ chain of command, including Named Employee #5 (NE#5). Approximately
         six days after the incident, DESC staff members initiated an OPA complaint regarding this matter.
         The DESC staff were particularly concerned with the actions of NE#1, which they believed
         constituted excessive force and the failure to de-escalate. During his review, NE#5 also referred
         to OPA the potential failure of several of the Named Employees to report an allegation of
         misconduct made by a witness.

         As to two allegations against NE #1 concerning use of force, OPA issued findings of “Not Sustained
         – Inconclusive” as to one, and “Not Sustained – Unfounded” as to the other. As to allegations
         concerning de-escalation against NE #1, OPA issued a finding of “Not Sustained – Lawful and
         Proper.” As to two additional allegations concerning standards and duties (professionalism and
         discretion), OPA issued findings of “Not Sustained – Inconclusive.”

         As to one allegation against NE #2 concerning reporting of alleged policy violations, OPA issued a
         finding of “Not Sustained – Unfounded.” As to three additional allegations concerning use of
         force investigation and reporting, OPA issued findings of “Not Sustained – Lawful and Proper.”

         OPA sustained one allegation against NE #2 concerning the reporting of certain policy violations.
         As to two additional allegations concerning use of force investigation and reporting, OPA issued
         findings of “Not Sustained – Lawful and Proper.”

         As to one allegation against NE #4 concerning the reporting of policy violations, OPA issued a
         finding of “Not Sustained – Unfounded.” As to three additional allegations concerning use of
         force investigation and reporting, OPA issued findings of “Not Sustained – Lawful and Proper.”

         As to two allegations against NE #5 concerning use of force investigation and reporting, OPA issued
         findings of “Not Sustained – Lawful and Proper.”

         As to one allegation against NE #6 concerning the reporting of policy violations, OPA issued a
         finding of “Not Sustained – Unfounded.” As to an additional allegation concerning use of force
         investigation and reporting, OPA issued a finding of “Not Sustained – Lawful and Proper.”

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  GO                              FRB Review                                     OPA Determination
Number
            OPA sustained one allegation against NE #7 concerning the reporting of policy violations.

17-417824   While SPD officers were at the scene of a traffic accident      OPA reviewed a total of seven
            involving a vehicle and a pedestrian that resulted in a         allegations against three named
            fatality, an individual (the subject, and the complainant in    employees, one concerning the
            the OPA matter) called 911 to say that officers had shot        failure to activate in-car video, and
            someone. Based on the call, a subsequent call, and the          the remaining relating to de-
            subject’s rambling and incoherent speech during those           escalation, use of force, and
            calls, the 911 operator identified that the                     reporting and investigation of force.
            subject/complainant was possibly in crisis.           Shortly   OPA sustained the allegation
            thereafter, A/Sgt. A, who was at the scene of the collision,    relating to ICV. As to the remaining
            was flagged down by a citizen regarding a person on the         six, OPA issued findings of either
            ground who appeared to be having a medical emergency            “Not Sustained – Unfounded” or
            (acute alcohol poisoning or substance overdose). As the         “Not Sustained – Lawful and
            sergeant went to the scene, he noticed a man down, with         Proper.”
            the subject/complainant kneeling next to him. While the
            sergeant assessed the situation, the subject began to
            interfere. The sergeant asked the subject to back away
            from the person on the ground several times. When the
            subject refused, the sergeant requested another unit to his
            location. As backing Officer A arrived, the subject became
            increasingly hostile and continued to interfere with
            officers’ efforts to assist the person on the ground. The
            subject was informed that he was under arrest, and Sgt. A
            took hold of his elbow to take him into custody. As the
            sergeant attempted to bend the subject’s arm into a
            position to be handcuffed, the subject suddenly struck the
            sergeant in the chest with his elbow. Officer A ran over and
            was able to assist as they struggled with the subject on the
            ground until additional officers arrived. The additional
            officers were able to control the subject until he was placed
            into handcuffs.

            At the time of the FRB review, OPA was reviewing a
            complaint of excessive force that the chain of command
            referred after receiving the subject’s complaint.

            The FRB noted that the chain of command separately and
            appropriately identified, and addressed, issues concerning
            the sergeant’s de-brief (together, rather than individually)
            with the involved officers, and noted that although it was
            documented that a spit sock was applied, the reason for
            the application was not articulated in the officers’ reports.

17-424093   Officers were dispatched to a residence after the tenant        This case involved an OPA-initiated
            called to report his friend, a guest at the residence, was      complaint containing allegations
            threatening to kill himself. Officers spoke with the caller     concerning the use of ICV, use of

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  GO                               FRB Review                                        OPA Determination
Number
            who informed them that the subject had cut his wrist with           force, and de-escalation. Noting
            a razor blade and went into the bathroom. The tenant let            that the NE did activate body-worn
            the officers into the apartment and directed them to the            video, OPA issued a “Not Sustained
            bathroom, where the subject was hiding. Officers                    – Training Referral” finding, and
            attempted to make verbal contact with the subject through           submitted to the Department a
            the closed door, but received no response. Officers                 Management Action requesting
            decided to enter the bathroom to get a better assessment            that the Department clarify the
            of the situation. They developed a tactical plan and                language of Manual Section 16-090-
            designated roles that included a Taser officer, lethal cover,       POL-5 “to make clear that where
            and an arrest team. Officers opened the bathroom door               officers are equipped with both ICV
            and observed the subject cutting himself with the razor             and BWV, it is the intent of the
            blade. Th subject looked at the officers and retreated into         policy that they will record on both
            the shower tall. Officers ordered the subject to drop the           systems. The Department should
            razor and he complied. After dropping the razor, the                further clarify that simply recording
            subject continued to try and injure himself by clawing at           on one and failing to record on the
            the self-inflicted lacerations on his wrist and forearm.            other is improper when the
            Officers attempted to verbally de-escalate the subject, who         secondary system is required to be
            had clenched his fists. When this failed, the Taser officer         activated under this policy.”
            gave an arc warning on his Taser as a de-escalation
            technique to discourage the subject from attacking them.            As to allegations concerning de-
            The subject responded to the arc warning by closing the             escalation, the authorization to use
            shower curtain. When officers pulled open the shower                of force, and the use of force
            curtain, the subject appeared ready to fight. The subject’s         against NE #1 (the Taser officer),
            fists were clenched, muscles tensed, and he appeared as if          OPA issued a finding of “Not
            he was going to charge at the officers. The Taser officers          Sustained – Lawful and Proper” as
            believed the subject was going to attack, and in response           to the first, “Not Sustained –
            to the threat, he deployed his Taser. The Taser deployment          Training Referral” as to the second,
            was effective, causing neuromuscular incapacitation.                and a finding of “Not Sustained –
            Officers entered the small bathroom and prevented further           Management Action” as to the
            injury to the subject by using a team takedown to restrain          third,    requesting      that     the
            the subject on the bathroom floor where he was placed               Department “amplify its Taser
            into custody. The subject was transported to HMC for his            training to provide clearer guidance
            self-inflicted injuries and for an involuntary mental health        as to what constitutes an imminent
            evaluation.                                                         risk of harm justifying the use of a
                                                                                Taser;     and      more       explicit
            The FRB noted that the chain appropriately handled                  explanations of what constitutes
            training issues around (1) although the officers called a           the ‘public safety interests’ that are
            sergeant to the scene as soon as feasible, a sergeant had           referenced in the policy and what
            not initially been dispatched to the call; (2) that the officers    conduct is sufficient to meet the
            did not treat the subject, initially, as a barricaded subject;      requisite ‘level of resistance’ from
            and (3) that the FTO at the scene did not recognize that his        the subject.”
            student officer was too close to the subject in the
            bathroom, thus placing himself at risk.
18-004914   An officer initiated a traffic stop on a vehicle in a parking lot   OPA reviewed two complaints
            where several pedestrians (not associated with the traffic          against one named employee
            stop) were located. As the officer began to exit his vehicle,       relating to de-escalation and the
            one of the pedestrians charged towards the officer yelling,         use of force. As to both, OPA issued
            “Get out of here, go back where you came from.” The

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  GO                              FRB Review                                   OPA Determination
Number
            subject had clenched fists and began striking them on the      findings of “Not Sustained – Lawful
            officer’s patrol car. The officer remained inside his car,     and Proper.”
            closed the door, locked it, and watched as the subject
            verbally threatened him from outside the car. When the
            subject stepped away, the officer made an attempt to get
            out of the car again. The subject again approached him in
            a threatening manner, at which time the officer retreated
            into his vehicle again and requested backup. After backing
            officers arrived, the involved officer used a control-hold
            takedown of the subject and placed him under arrest. After
            being transported to the precinct the subject complained
            of broken ribs. SFD responded and cleared the subject of
            injury; he was then transported to King County Jail for
            booking.

            The FRB identified as training issues retreating to his
            vehicle and remaining at the scene – training standards
            would have been to take immediate action and contact the
            subject or create space by moving the vehicle, which would
            have been safer. The FRB also noted that the officer did
            not either terminate the traffic stop or advise the vehicle
            driver that he was free to leave, thus leaving him at
            potential risk of harm by the subject. The FRB noted that
            the chain of command appropriately addressed this issue.

            At the time of the FRB review, OPA was reviewing the use
            of force following a chain of command submission of a
            third-party (a witness who observed part of the incident)
            complaint to OPA.
18-017258   Officers were dispatched to investigate a trespass call at a   OPA reviewed 5 allegations against
            residence, where two Airbnb guests were in a dispute.          NE #1 and NE#2, each, three
            Officers arrived and located the female subject who was        relating to stops and detentions
            causing a disturbance. Officers attempted to speak with        (limit     in     scope,     subject
            the subject, but she refused to cooperate. As the subject      identification, and based on
            attempted to leave, the officers advised her that she would    reasonable suspicion); one relating
            be placed in handcuffs if she attempted to leave before the    to arrest (probable cause); and one
            investigation was complete. The subject began to argue         relating to the use of force. For
            with the officers, stating that she had done nothing wrong.    both employees, as to the
            Officers believed they had probable cause to arrest the        allegations concerning the stop,
            female subject for trespassing and attempted to place her      OPA issued findings of “Not
            in handcuffs. The subject resisted arrest by pulling her       Sustained – Training Referral”,
            arms back and refusing to cooperate with their commands.       “Sustained,” and “Not Sustained –
            During the struggle, the subject pushed one of the officers,   Lawful and Proper,” respectively.
            causing him to fall to the ground. While falling to the        As to the allegation concerning the
            ground, the officer pulled the subject to the ground with      arrest, OPA issued a finding of
            him. Both officers struggled with the subject on the ground    “Sustained.” As to the allegation
            until they were able to place her into handcuffs. The          concerning the use of force, OPA
            subject was transported to the precinct where she

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  GO                              FRB Review                                     OPA Determination
Number
            complained of pain to her face. SFD responded to treat the      issued a finding of “Not Sustained –
            subject for possible injuries. The subject was cleared of any   Training Referral.”
            injuries and transported to KCJ.
                                                                            OPA separately reviewed an
            Prior to the FRB review, the Chain of Command had               allegation      concerning        the
            initiated an OPA referral after identifying concerns with the   sergeant’s screening and approval
            decision to arrest, to initiate the stop, de-escalation and     of the arrest, issuing a finding of
            the use of force; the FRB concurred with these referrals.       “Not     Sustained      –   Training
                                                                            Referral.”
18-130285   Multiple officers responded to a hit and run accident where     OPA reviewed allegations against
            witnesses reported the driver was intoxicated and had fled      three named employees (two
            the scene on foot. While officers were responding to the        officers and one sergeant) and an
            scene, witnesses updated radio as to where the subject was      unidentified/unknown officer. The
            hiding. When officers arrived on-scene, they located the        complainant’s allegations, and OPA
            subject in a fenced courtyard of a residence. The owner of      determinations, are as follows:
            the residence unlocked the gate and let the officers onto       (1) That NE #1 subjected her to
            their property so they could remove the subject. The            excessive force while she was
            officers contacted the subject who refused to comply with       restrained on a hospital gurney by
            their orders. The officers formulated a plan, approached        bruising her wrist when he
            the subject as a team, and lowered her to the ground when       attempted to remove an object
            she started to resist. Once the subject was handcuffed, she     from her hand. Noting that the
            refused to stand up and walk on her own. Two officers           subject had made statements of self
            carried the subject up a small stairwell leading to the         harm, was holding a metal object in
            sidewalk, where the patrol vehicles were parked. At the         her hand that could be used for self-
            top of the stairs the subject agreed to stand up and walk on    harm, and refused to release it, OPA
            her own, so the officers placed her legs back on the ground.    issued a finding of “Not Sustained –
            When the officers escorted the subject to the front of a        Lawful and Proper.” (2) That the
            patrol vehicle, she violently kicked the front bumper. In       on-scene sergeant was “a dick” and
            response, the two escorting officers leaned the subject         engaged in excessive force when a
            over the hood of the car to prevent her from further            different officer injured her elbow.
            damaging or injuring herself by kicking the patrol vehicle.     OPA issued “Not Sustained –
            The subject then struck her head on the hood of the patrol      Unfounded” findings as to these
            vehicle. To prevent her from further injuring herself,          allegations based on the fact that
            officers moved the subject to an adjacent grass planting        the video, which shows the incident
            strip and lowered her to the ground. The officers retrained     in its entirety, establishes no
            the subject on the ground as she attempted to kick them         contact. (3) OPA also reviewed
            and thrashed about. While on the ground, the subject            allegations that the sergeant failed
            made several complaints of pain and accused the officers        to assist the complainant in filing a
            of hurting her. Officers called AMR to transport her to the     report by not asking her whether
            hospital for a blood draw related to the collision. While       she wanted to file a report, and
            being interviewed by the investigating sergeant, the            failed to report her complaints of
            subject attributed bruising on her right bicep to A/Lt. A,      pain. OPA issued “Not Sustained –
            who was not present when she was taken into custody.            Lawful and Proper” as to the
            While the subject was at the hospital, the officer assigned     former, and “Not Sustained –
            to hospital guard noticed that she had a necklace with a key    Training Referral” as to the latter.
            similar to a handcuff key around her neck. The officer          (4) OPA reviewed allegations that
            called hospital security to assist him in removing the          that an unknown employee used
            necklace/key due to the subject’s violent behavior. The         excessive force against her. Again,

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   GO                              FRB Review                                   OPA Determination
 Number
             subject later claimed the officer hurt her when he removed     based on video review, OPA issued
             the necklace. The subject was released from the hospital       a finding of “Not Sustained –
             after the blood draw and then booked into KCJ.                 Unfounded” as to this allegation.

             The FRB found the officers’ efforts at de-escalation to be
             consistent with policy and training, and approved five of
             the six officers’ use as reasonable, necessary, and
             proportional.

             Prior to FRB review, the Chain of Command had forwarded,
             on behalf of the complaining subject, the subject’s
             complaints about the force used by the officer on hospital
             guard and the allegations about professionalism and use of
             force by a. on-scene sergeant. FRB accordingly deferred its
             findings to OPA’s review.




In one case, OPA received a complaint from the subject via the Chain of Command prior
to FRB review; because OPA classified the case for Expedited Investigation, the matter
was reviewed by the FRB. See Table 9.
Table 9: FRB Review Following OPA Return
   GO                              FRB Review                                   OPA Determination
 Number
 18-126821   ARM employees flagged down Officer A to report they            The subject made a complaint of
             observed a male subject assaulting a female at a bus stop.     excessive force that was forwarded
             Officer A detained the male subject, who was nearby. The       by the Chain of Command to OPA.
             subject admitted to Officer A that he had his hands on the     After conducting its intake
             woman and that he didn’t know her. The subject also            investigation, OPA classified this
             expressed his intentions were sexually motivated and he        case for Expedited Investigation. As
             didn’t care if the woman consented to his advances or not,     such, the involved employees were
             because he wanted to have sex with her. A female backing       not interviewed and the allegations
             officer, Officer B, arrived on-scene and Officer A explained   were not sustained.
             the situation. Officer A requested that Officer B watch the
             subject while he spoke to the female subject to get her
             account. After Officer A walked off, the subject stood up,
             ignoring orders to stay seated, and grabbed ahold of Officer
             B’s hand and then attempted to grab her genitalia. Officer
             B radioed that she needed Officer A to return to assist with
             the subject. He returned and the two officers attempted
             to handcuff the subject, who became physically resistant.
             The subject continued to resist arrest and pulled way from
             the officers. The officers placed the subject on the ground
             in a prone position and then into handcuffs. Post-arrest,

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             the subject complained of pain to his head and knee. SFD
             responded, evaluated, and cleared him medically. The
             subject was transported to KCJ where a small abrasion was
             located on his left forearm.

             The FRB found that the officers took reasonable steps to
             de-escalate and that the force was reasonable, necessary
             and proportional. The FRB noted as training issues that the
             officers should have been more aware of officer safety
             issues, as they separated without having frisked the subject
             or securing him in handcuffs. The FRB recommended that
             this case be referred to Training for incorporation into
             future training sessions on tactics.

             Prior to FRB review, the Chain of Command had forwarded
             to OPA the subject’s complaint that the officers had used
             excessive force. For the reasons stated in the adjacent
             column, the FRB did not defer its findings on the force.



Finally, in two cases, the FRB noted concerns about tactics and decision-making and on-
scene supervision, but noted that all concerns had been addressed prior to its review by
the Chain of Command. See Table 10.
Table 10: Issues Addressed by Chain of Command Prior to FRB Review
   GO                                                  FRB Review
 Number
 18-020083   Officers responded to a call of a male throwing items at passing vehicles. When officers arrived in
             the area, they located the subject who had disrobed and was running around in the street. When
             officers contacted the subject, he ran from them. Officers followed the subject on foot until he
             jumped into a trashcan and refused to come out. A supervisor, CRT units, and additional resources
             were called to the scene. Officers negotiated with the subject for the next 40 minutes. When the
             subject began lunging from the trash can and striking a parking sign, the Taser officer deployed his
             Taser at the subject. The Taser deployment was ineffective. The Taser officer then accidentally
             deployed a second set of probes into the ground. The Taser officer attempted to re-energize the
             probes on the subject twice, which was also ineffective. Officers continued to negotiate with the
             subject for the next 20 minutes. When the subject began to spit on officers, they moved in,
             restrained the subject, and removed him from the trash can. When officers attempted to place
             the subject on a gurney for transport to the hospital, he began to resist them again. The supervisor
             used a compliance technique to gain control of the subject. The subject was then transported to
             HMC for evaluation and then booked into KCJ.

             The FRB found that the officers took reasonable efforts to de-escalate prior to using force, and
             found that the force used was reasonable, necessary, and proportional. The FRB expressed
             concerns, however, with the tactics and decision-making employed by the on-scene supervisor,
             concluding that the supervisor did not formulate or articulate a clear plan to officers on-scene.
             The FRB further noted that these issues had been identified, and addressed, by the Chain of
             Command prior to FRB review.

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18-027032   Officers were dispatched to a local gas station where a male was reported walking through a
            parking lot with a hammer in his back pocket and looking into parked cars. The caller also reported
            that the subject was associated with a dark SUV. When the officers arrived, they located a dark
            Ford Explorer SUV with the subject sitting in it. The officers recognized the subject from pervious
            contacts, but since no crime had been committed, the officers cleared the scene. At a nearby
            location, an officer performed a records check on the subject and located a felony DOC warrant.
            When the officers re-contacted the subject, they placed a patrol car in front of the subject’s SUV,
            blocking his escape route. The officers gave the subject orders to exit his vehicle and informed
            him that he had a felony DOC escape warrant for his arrest. The officers attempted to establish a
            dialogue with the subject, using a clam tone and using his name to personalize the contact. The
            subject locked the vehicle’s doors and refused to come out. The subject appeared to be under the
            influence, was possibly armed with a hammer, and was talking incoherently. An officer safety
            caution was associated with the subject. One officer found the rear hatch of the vehicle unlocked
            and unlocked all the vehicle’s doors using the rear vehicle power lock switch. The officers opened
            the driver’s side door and pulled the subject from the vehicle with minimal effort. The officers
            used a team takedown to place the subject on the ground while giving commands for him to get
            down and to stop resisting. After taking the subject to the ground, the officers placed him into
            handcuffs without further incident. The subject was treated at the scene by SFD for minor
            abrasions and was booked into KCJ.

            The FRB found the officers used de-escalation tactics and force consistent with policy. The FRB
            cited three issues with the on-scene supervision, however, in that (1) the sergeant deferred the
            photographs of the subject to an officer, rather than taking them himself; (2) the FRB discussed as
            an “excited utterance” the subject’s comment that the officers were “racist ass bitches” and noted
            that no bias review was initiated, but ultimately agreed that no bias review was possible because
            the subject was unable to focus or answer questions; and (3) noted an FRU complaint to OPA
            (subsequently initiated as a Frontline Investigation) regarding the sergeant’s failure to Mirandize
            the subject as he was arrested for a warrant. The FRB noted, however, that all issues had been
            identified and addressed by the Chain or FRU.




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            APPENDIX C
Type III Use of Force Qualitative Review
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The following summary of 2017-319167 is taken from the Force Investigation Report
completed by FIT. Note: the names of the subject, and the involved officers, have been
redacted.
      On August 28, 2017 at approximately 1720 hours, the first of three phone
      calls came into the Seattle Police 911 Communications Center of a subject
      walking in traffic. The information on the call indicated, “male walking in
      the middle of traffic, screaming, pushing bicyclists”. Two additional 911 calls
      provided similar descriptions of the subject’s actions. The subject was
      reported to be walking the wrong way in traffic on 4th Ave. This occurred
      during the middle of rush hour traffic. The subject was described as a
      Samoan male, 30’s or 40’s, 6’4”, 250 lbs., heavyset, wearing a grey shirt and
      black shorts. This subject was later identified as [Subject A].
      Seattle Police Officer [A] heard the radio broadcast and responded to the
      area. Seattle Police Officer [B] volunteered to back Officer A. SPD Bike
      Officers [C] and [D] were located at Westlake Park and announced on the
      radio they would respond to the call. What follows summarized the events
      of the Involved Officers and Witness Officer B’s encounter with Subject A
      based on their statements (written and audio) and the video evidence
      located from this incident:

      Officers C and D rode northbound on 4th Ave from Westlake Park. They
      observed Subject A walk southbound in the street on 4th Ave towards
      oncoming vehicular traffic. Both officers directed Subject A to get out of the
      roadway. The officers stopped their bikes approximately 10-15 feet away
      from Subject A. Subject A yelled “Who want it? Who want it?” as he walked
      directly at the bike officers. Officer D placed his bike as a barrier between
      himself and Subject A. Subject A walked into Officer D and struck him in the
      shoulder at least one time with his hands. Officers ordered Subject A to get
      on the ground and he did not comply.
      Officer C was positioned to the left side of Officer D. He warned Subject A to
      get onto the sidewalk or to get onto the ground or he would be tased. Officer
      C stated Subject A appeared to “square off” on Officer D. Officer C aimed for
      Subject A’s lower chest and upper thigh area on the first Taser cartridge
      deployment. When Officer C deployed his Taser in probe launch mode, it
      struck Subject A on the right hand and right abdomen area. The Taser
      application was initially effective causing Neuromuscular Incapacitation
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      (NMI) and Subject A went to the ground on his stomach then he rolled to his
      back. Officer C got on the air to say they were taking the subject into
      custody. Officer C and Officer D attempted to place Subject A into custody
      after the five second Taser cycle. However, Subject A recovered and tried to
      get up. Officer C stated Subject A swung and kicked at Officer D.
      Officer C called for a fast back up as they tried to take Subject A into custody.
      He described that Subject A attempted to punch him and Officer D. In his
      statement, Officer C said he delivered at least two knees to Subject A’s face
      as he ordered Subject A to get back onto the ground. Subject A continued
      attempts to get to his feet. Officer C attempted to cycle his Taser 5 to 6 times
      during the struggle to deliver an additional 5 second cycle but the Taser did
      not appear to work. Officer C attempted to deploy the second cartridge but
      the Taser did not deploy the second cartridge. Officer C turned the Taser off
      then back on and was then able to deploy the second Taser cartridge. Per
      his statement, Officer C targeted Subject A’s abdomen and upper thigh area
      with the second Taser cartridge. Officer C reported the probes from cartridge
      2 landed in the general area he targeted. He stated the second deployment
      was successful momentarily but Subject A continued to fight them. into
      custody. He described that Subject A attempted to punch him and Officer D.
      In his statement, Officer C said he delivered at least two knees to Subject A’s
      face as he ordered Jones to get back onto the ground. Subject A continued
      attempts to get to his feet. Officer C attempted to cycle his Taser 5 to 6 times
      during the struggle to deliver an additional 5 second cycle but the Taser did
      not appear to work. Officer C attempted to deploy the second cartridge but
      the Taser did not deploy the second cartridge. Officer C turned the Taser off
      then back on and was then able to deploy the second Taser cartridge. Per
      his statement, Officer C targeted Subject A’s abdomen and upper thigh area
      with the second Taser cartridge. Officer C reported the probes from cartridge
      2 landed in the general area he targeted. He stated the second deployment
      was successful momentarily but Subject A continued to fight them.
(Note: a subsequent inspection of the Taser determined a hardware issue with the Taser,
resulting in performance failure.)
      Officer C recalled Subject A kicked him in the legs at least twice and possibly
      kicked him in the chest. Officer C reported he was almost kicked in the head

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when Subject A kicked his feet in the air. Officer C stated he also delivered
two kicks to Subject A’s side to keep him on the ground.
As a Witness Officer, Officer C observed Officer D utilize his baton and strike
Subject A in the upper left arm and back area. Per his statement, he did not
witness any other officer use force during the incident. Officer D reported
that he had no prior knowledge or contact with Subject A before the
incident.
Officer D utilized his less lethal baton to prevent Subject A from further
assaults to them and to keep Subject A on the ground. Officer D delivered 3
initial baton strikes to the left side of Subject A’s body. He and Officer C
continued to struggle with Subject A. Officer D delivered an additional 6
strikes to the left side of Subject A’s body. During his audio interview, Officer
D recalled approximately 10 baton strikes to the subject during the struggle.
He believed he struck the subject in the left arm and shoulder area. Officer
D poked Subject A with the tip of his baton in the chest area during the
struggle approximately 2 times. Officer D stated this tactic did not appear
effective. Officer D also attempted to control the subject’s head when he
used his baton across the left side of the subject’s face. This too, per Officer
D was ineffective.
As a Witness Officer, Officer D observed Officer C deploy his Taser. Officer D
also witnessed Officer C use knee strikes on Subject A which effectively kept
him on the ground as they struggled with him. Per his statement, he did not
witness any other officer use force during the incident. Officer D reported
that he had no prior knowledge or contact with Subject A before the
incident.

Officer A was staged nearby at 4th Ave and Olive Way. He heard the officers
struggle on the radio and the request for a fast backup. Officer A stated he
observed Subject A violently struggle with officers as he pulled up to the
scene. He observed Officer C at the lower half of Subject A’s body and Subject
A kicking repeatedly. He observed Officer D at the upper half of the subject’s
body attempting to control the subject. Officer A described in his statement
that he heard a Taser cycle but it did not appear to effect Subject A. He
stated he did not know which officer deployed the Taser. Officer A did
witnessed Officer D strike Subject A with a baton approximately 2 to 3 times

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to the left shoulder area of Subject A. Officer A reported a constant struggle
with Subject A until multiple officers arrived to control the subject’s
movements. Per his statement, he did not witness any other officer use force
during the incident.
After the force, additional officers arrived and assisted with the control of
Subject A by holding his body to the ground with their hands to prevent any
further struggle with Jones. Officer E arrived and held down Subject A’s legs.
Officer B arrived and held down Subject A’s right arm. Officer F arrived and
held down Subject A’s left arm. A/Sgt. G arrived on the scene to screen UOF
and supervise the scene. A/Sgt. H also arrived on the scene of the incident
to assist with scene control. Medical attention was summoned for Subject A
for treatment of his crisis issue and to remove the Taser probes from his right
hand and torso area. SFD were called at approximately 1726 hours and
arrived at approximately 1733 hours. SFD treated Subject A on the scene and
attempted to remove all Taser probes from Subject A but were unable to
remove the probe from his right hand. Subject A was transported to Virginia
Mason Hospital under hospital guard to have the probe removed.
Backing officers located civilians who witnessed the incident. Approximately
ten of the civilian witnesses indicated they observed an aspect of the use of
force. These witnesses described seeing or hearing the Taser application,
witnessed the baton strikes or witnessed Subject A assault officers. Witness
A stated Subject A was in possession of a knife prior to the use of force, but
the investigation did not confirm her account. Officers checked the path of
the subject and did not locate a knife. All witness information was collected
and documented in the GO report and this FIR report.
A/Sgt. G screened the assault on officers with A/Lt. A of the East Precinct.
He then screened the incident with A/Capt. Hirjak of FIT. A/Sgt. G changed
location to the hospital where he conducted an interview with Subject A and
obtained information regarding the subject’s injuries. Subject A had a
chipped right front tooth that did not require immediate treatment. Subject
A’s left shoulder checked negative for fractures after the x-ray. The
abrasions on XXXX’s knees were cleaned and treated by hospital staff.
Subject A had bruises on his left arm, left chest and left back. There was no
indication of any head injuries. (Note: The Taser probe lodged in the bone of

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      Subject A’s hand was ultimately removed and A/Sgt. G delivered it to the FIT
      office where he turned it over to the primary detective.)
      Detective Steve Corbin and Detective Joe Stankovich responded to Virginia
      Mason to interview the subject. OPA Sgt. Linda Cook was present during the
      interview. Detective Corbin led an interview with Subject A. Subject A was
      read Miranda and agreed to an audio statement. Subject A also signed a
      medical information release waiver.

      Subject A described how he smoked PCP with a friend before the incident.
      He stated he was irritated with his friend, the weather and at the reaction
      to medication he was prescribed for a medical condition. Subject A stated he
      did not recall any of the use of force incident. He recalled that he was
      surrounded by police and SFD when he came to from his black out. Subject
      A’s audio recorded statement and transcript are the best record of the
      contact. Photos of the subject and his injuries were taken in the emergency
      room of Virginia Mason Hospital.
FRB Review: The FRB concluded that officers used sound tactics and de-escalation efforts
in this incident. Officers communicated clearly with the subject to get on the ground and
comply with their commands. A warning was provided to the subject, prior to the Taser
deployment, but was ignored. No additional de-escalation tactics were identified by the
Board that the involved officers could have used.
At the time of the FRB deliberation, OPA was reviewing a total of six allegations of
excessive force, submitted by an employee at a nearby restaurant, who had observed part
of the incident. The FRB accordingly discussed elements around tactics and decision-
making, but, per policy, did not rule on the use of force itself.
OPA Review: Following OPA review, the OPA Director issued a “Not Sustained” finding
with respect to all six allegations, certifying four as a “Lawful and Proper” use of force,
and certifying two allegations as “Unfounded.”
The following summary of 2017-303566 is taken from the Force Investigation Report
completed by FIT:
      On August 16, 2017 Officer A and his first rotation Student Officer B were
      riding together as 3 David 11. Officer B was driving and Officer A was the
      passenger. At approximately 2056 hours they were dispatched to 225 Cedar
      St for a disturbance call (2017-303518). The call stated “In parking lot north
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of, male hitting a tree with a metal pole.” Subsequent updates also added
that there were approximately twenty subjects standing around. 3 David 3,
Officers C and D were dispatched as the backing unit. Less than a minute
later, approximately 2057 hours, 3 David 1, Officer E and Student Officer F
answered up that they would also be enroute. Officer E was the passenger,
and in plain clothes as Officer F was on his fourth rotation, or his “check out”
phase.
Officer G, upon hearing the nature of the call and the potential number of
subjects felt that he was close enough and asked dispatch over air to log him
to the call (2104 hours).
Officers A and B arrived first, immediately followed by Officers C and D. They
both parked in the alley to the north, in the 200 block of Cedar St, facing
north. They were just south of the alley entrance/exit to New Horizons Youth
Service Shelter (2709 3rd Ave). Officers A, B, D and C exited their vehicles to
begin their investigation. Officers F and E arrived at the scene about 30
seconds later and approximately 30 seconds after that Officer G arrived.
Both vehicles parked on Cedar St for lack of space in the alley.
DICV captured the following: Approximately two minutes after arriving on
scene, Officer B can be heard on DICV making contact with [Subject A] who
admitted that he was hitting a tree with a metal pole. Officer B and Officer
F continued their investigation while the other Officers on scene took cover
positions, keeping their attention on the large amount of youth subjects in
the alley and Grange Insurance parking lot.
Less than three minutes into the investigation of Subject A’s actions, he can
be heard on DICV asking officers if they can make “him” leave. It was
determined, based upon the involved officer’s audio statements that Subject
A was referring to [Subject B], who was interjecting himself into the
conversation between Subject A and the investigating officers.
Approximately one-minute later Officer C could be heard speaking to all the
youth subjects who were sitting on the short retaining wall in the Grange
Insurance parking lot (west side of the alley), pointing out the “Conditions of
Entry” signs.
Officers C’s and D’s DICV showed officers contacting Subject A. Officer C is
heard having a conversation with Subject B (not visible in the frame) who
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argued about whether or not he needed to leave the property. Subject B then
came into view walking eastbound off the property into the alley. Subject B
made it about halfway across the alley when he turned around and
proceeded to walk back toward the area where Officer C had asked him to
leave. According to Officer C, Subject B told him that he needed to grab his
property. Officer C watched Subject B walk to the retaining wall and planter
that had no property on or near it.
Officer C opted to identify Subject B at this time for trespassing and asked
him for his identification. Officer C said that Subject B ignored his request
and attempted to push by him without providing his identification. Officer C
said he put his right hand on Subject B’s right shoulder and grabbed Subject
B’s left wrist with his left hand. Officer C told Subject B to sit down (on the
retaining wall). Officer C stated that he immediately was met with verbal
resistance from Subject B who told Officer C that he was not going to sit.
Officer C said he then used “de minimis” force, putting pressure downward
on Subject B’s shoulder and pushed him a few steps backward in order to
make him sit. Officer C said Subject B resisted him as he did this. As soon as
Subject B sat down on the wall Officer C said that Subject B jumped back up
and pushed him (Officer C) backwards. Officer C said he believed that Subject
B was trying to leave the scene.
The altercation can be heard and the officers can be seen going to assist
Officer C. Subject B was yelling and can be heard saying, “… get off my neck!”
Subject B also was heard making allegations that the officers choked him.
At the time of the physical altercation Officer C’s mic picked up the noise of
the youth subjects around, and their comments regarding the Officers’
actions with Subject B.
According to Officers F, C and D they performed a trained take down of
Subject B. Officer C stated that from his initial contact with Subject B, he still
maintained control of his right arm and was on his right side. Officer F
described that he was on Subject B’s left side. He said that he attempted to
control Subject B’s left arm to bring it behind his back to handcuff him, but
Subject B yanked it away. Realizing that Subject B was being resistive Officer
F did a body wrap, “bear hugging” Subject B and pinned his left arm to his
side. Officer F reported in his statement that he alerted other officers
verbally of what he wanted to do saying, “Down to the front!”
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Simultaneously Officer D approached Subject B from in front of him and took
control of Subject B’s head.
In his FIT statement Officer D said he placed his left forearm on the right side
of Subject B’s neck and cupped the back of Subject B’s head with his left
hand. Officer D did this so he could control Subject B’s head. Officer D stated
he could not immediately recall what his right arm was doing, but he
believed it was controlling Subject B’s right shoulder. Officer D said that he
verbally gave the command, “To the front,” to Officer C.
The officers all stated that when Subject B went to the ground he was still
actively resisting. Officer G recalled in his FIT statement that even though he
was mainly acting as a cover officer, when he looked down to check the
status of Officers D, F and C he saw they had taken Subject B to the ground
and were attempting to handcuff him. Officer G said he saw Subject B had
his left arm tucked underneath him and was not willingly putting it behind
his back so that he could be handcuffed. Officer G said he tapped Subject B’s
left wrist and tugged on Subject B’s sleeve to let him know which arm he was
talking about, at the same time verbally telling Subject B, “Put your arm
behind your back.” Officer G said he then saw that the officers were able to
get leverage and get control of Subject B’s left arm.
Officer F was able to put the handcuffs on Subject B. The Officers said they
then opted to search Subject B as much as possible while he was still on the
ground. After approximately a minute of searching Subject B, they stood him
up and walked him in front of the patrol car to finish their search.
Sgt H arrived on the scene at 2119 hours and Officer C screened the arrest
with him. Officer C informed Sgt H at this time that Subject B made
allegations that they choked him. Sgt H had Officer C place Subject B in the
back of the patrol car and transport him back to the precinct. Subject B
declined medical treatment.
Once at the precinct Sgt CaHrullo interviewed Subject B. Subject B made
allegations of being choked. Sgt H screened the incident with FIT. Detective
Simmons and I interviewed and photographed Subject B at the precinct.
In his statement Subject B said that “the police officer with the redhead” put
his hands on Subject B’s throat and that the Officer was holding onto his
throat trying to control him. Subject B said he yelled for the Officer to get off
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of his throat. Subject B stated that he “freaked out” when the Officer
grabbed him because he didn’t know it was an officer touching him. Subject
B admitted that he realized it was officers when he was on the ground but
that he continued to struggle because of his throat being grabbed. Subject
B said that multiple officers took him down to the ground and put a foot on
the left side of his head to control him. Subject B said he did not lose
consciousness but said he couldn’t breathe and he was a little dizzy. Subject
B said that he had dust in his eyes, his head hurt and he complained of pain
due to the handcuffs. Subject B suffered minor abrasions on his wrists from
the handcuffs. The injury was photographed. Subject B did not have any
other complaints of injury and there were no further visible injuries. Subject
B again, declined medical treatment. Officer F (FIT statement page 36).
Officer D stated that he did this not only because this is how he was trained,
but also because it is necessary to protect someone’s head if they are being
taken to the ground (FIT statement page 14). The three officers then
proceeded to bring Subject B to a prone position on the ground in what
Officer D described as a controlled takedown.
Once Subject B was on the ground Officer D said he placed his knee on the
lower, back part of Subject B’s neck. Officer D stated that he heard Subject
B say that “they” (officers) were choking him, so Officer D quickly
repositioned his knee further down toward Subject B’s back. (FIT statement
page 11). Officer D said he realized that even though he moved his knee and
saw that no one was near Subject B’s neck, Subject B was still yelling that he
was being choked.
Subject B was subsequently booked into King County Jail at 0128 hours on
August 17th for SMC 12A.08.040, criminal trespass and SMC 12A.16.010,
obstructing an officer. He was released at 1654 hours on August 17th,
pending charges.
Officers D and C provided involved officer statements for Type III use of force.
Officers G, F, B and A provided witness officer statements for Type III use of
force.
Officer F completed a Type II Blue Team entry for the injury to Subject B’s
wrist.


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       Officer F suffered abrasions on both knees, and sustained a tear to his
       uniform pants on the knee. Officer D had a small abrasion on his hand. All
       injuries were reported to and documented by Sgt H shortly after the incident.
       All officers returned to work for their following shift.
FRB Review: At the time of the FRB review, OPA had taken review of multiple issues
related to force, de-escalation, stops and detentions, and professionalism that had been
referred to OPA by the chain of command. The FRB accordingly discussed elements
around tactics and decision-making, but, per policy, did not issue findings on either
tactics/decision-making or the use of force. The FRB did conclude, however, that no Type
III force was used, finding (a) that no choke/neck hold was applied and there was no
indication that officers obstructed the subject’s airway while applying force to the subject.
OPA Review: As to the subject’s allegation that he was choked, OPA recommended a
finding of “Not Sustained – Inconclusive.” The OPA Director’s analysis is as follows:
       The subject alleged that N[amed] E[mployee] #1 used excessive force
       against him. The gravamen of the subject’s allegation against NE #1 was
       that NE #1 grabbed his throat. NE #1 reported using force to stop the subject
       from walking away and then force to take the subject to the ground and to
       handcuff him. NE #1 denied grabbing the subject’s throat. None of the other
       Named Employees reported witnessing NE #1 grab the subject’s throat.
       Moreover, while one civilian witness recalled that the subject complained
       that his throat was grabbed, from OPA’s review, no civilian witness
       recounted observing NE #1 grab the subject’s throat.
       With regard to the force that NE #1 reported using, I find that it was
       reasonable, necessary, and proportional. At the time the force was used, NE
       #1 had probable cause to arrest the subject for trespass. Moreover, when
       he tried to do so, the subject resisted those attempts and made physical
       contact with NE #1. As such, at that time, it was reasonable to use force to
       stop the subject from making any further contact with NE #1 and to place
       the subject into custody. The takedown was further necessary to achieve
       the lawful goal of effectuating the arrest. Based on the circumstances of
       this case, I do not believe that NE #1 thought that there was any other
       reasonable alternative to that force. Lastly, I find that the force reported by
       NE #1 was proportional to the subject’s resistance and the fact that the
       subject had just made physical contact with NE #1.

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       Were the force reported by NE #1 the only force alleged, I would have
       recommended that this allegation be Not Sustained – Lawful and Proper.
       However, as discussed above, the subject also complained that NE #1
       grabbed his throat and choked him. Had NE #1 done so, that force would
       have been out of policy under these circumstances. I note that not only did
       NE #1 deny doing so, but that no other witness reported viewing such
       actions. That being said, at the time that force was used by NE #1, the
       subject complained of his throat being grabbed by NE #1 and he consistently
       reiterated this allegation, identifying NE #1 as the perpetrator.
       Unfortunately, the video of the force and particularly the instant of when NE
       #1 was alleged to have choked the subject is of low evidentiary value and
       does not clearly show what exactly happened.
       As such, and considering that I cannot conclusively determine that NE #1 did
       not grab the subject’s throat, I recommend that this allegation be Not
       Sustained – Inconclusive.
Allegations of excessive use of force as to two other officers at the scene were rejected
as “Not Sustained – Unfounded.”
As to referrals relating to the lawfulness of the stop, OPA found all related allegations,
against all named employees, to be “Not Sustained – Lawful and Proper.”
As to referrals relating to professionalism and discretion, OPA found all related
allegations, against all named employees, to be “Not Sustained – Lawful and Proper”
except in the instance of NE #1 where, for the reasons articulated above, OPA found the
allegations to be “Not Sustained – Inconclusive.”
In Table 4, one crisis-involved use of force case is identified as resulting in death. Although
the force used in this incident was only low-level, Type I, because this interaction involved
an in-custody death it was investigated by FIT and reviewed by the FRB. The following is
from the Force Investigation Report. In addition, body-worn video of this incident can be
viewed      at    http://spdblotter.seattle.gov/2017/11/18/death-investigation-in-north-
seattle-2/).
       On 11/17/2017, at approximately 23:03:46 hours, Witness A called 911 to
       report a male in the intersection of Aurora Ave North and North 105th
       Street. She described the male as an older Native American, “looking
       panicked and freaking out and showing his phone like he’s scared.” She
       stated two other males were walking around him and filming with a phone.
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She was concerned that the males were going to fight the male in the middle
of the road.


At approximately 23:06 hours, Witness B called 911 to report a male in the
intersection of Aurora Ave North and North 105th Street, yelling “Help, help,
help!” He described him as a Native American Male, holding a phone, saying
he needed help. The male was currently alone in the intersection, and
Witness B believed the male was in danger of being struck by a vehicle.
At approximately 23:06 hours, Subject A called 911. He reported that a
“bunch of people” were chasing him and trying to “kill” him. He stated “I’m
at Northgate. I’m everywhere.” As the conversation continued, Subject
Fredericks stated he was in the intersection of “105th and Northgate and
Aurora.” When the dispatcher attempted to gather further information, the
line disconnected.

At approximately 23:08 hours, Dispatch called Subject A back. At first,
Subject A stated there was an emergency in the middle of the intersection,
and he needed help. When the dispatcher asked, “What’s going on?” Subject
A stated, “I don’t know. Nothing. I just need help.” He would not answer any
other questions. He could be heard yelling in the background, repeating that
he hadn’t done anything. Car horns could also be heard in the background
until the line disconnected.


911 received three more calls regarding Subject A. The callers provided
similar information regarding a male in the intersection. Information
regarding the calls was broadcasted over North Radio. Officer A and Officer
B were working a two-officer car, designated 3N31. They heard the radio
traffic and volunteered to take the call. They arrived at approximately 23:12
hours.
As Officer A and Officer B arrived with their emergency lights activated,
Subject A was in the intersection; he matched the description provided by
the 911 callers. From their vehicle, both officers told Subject A to get out of
the street and go to the sidewalk. After several commands, Subject A
complied and walked to the sidewalk on the SE corner, on the north side of
Seattle’s Family Dentistry. Officer A parked the patrol car at the SE corner of
the intersection and both officers approached Subject Fredericks on foot.
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Subject A told the officers that someone was chasing him. When asked by
who, Subject A stated he knew who they were, but refused to provide further
details. Subject A talked about unknown subjects disabling video and being
“…here still” as he pointed to various locations around the intersection.
Officer B told Subject A that it was his choice to identify the subjects, but he
needed to stay out of the street. Subject A stated, “I am not going back on
the street.” Subject A then stated that he needed an escort.

Officer A asked Subject A where he lived and Subject A told the officers that
he lived at 120th and Aurora. Officer A asked Subject A if he was going home.
Subject A responded by saying, “I’m trying to get there.” Officer A offered to
give him a ride home and told him that, “Nobody’s going to chase us.”
Subject A stated he didn’t know because he didn’t trust them yet. Both
officers continued attempts to convince Subject A to allow them to drive him
home.

When Officer B asked why he didn’t want a ride, Subject A responded by
saying “Cause a dispatcher when I call, it didn’t even sound like a
dispatcher.” Officer B asked if he was worried that they weren’t the police
and Subject A said he was concerned about them not being police officers.
When Officer B asked why he felt that way, Subject A said he didn’t know.
When Officer B told him that he called 911, Subject A told them it wasn’t the
right number.
A warrant was located from Westport PD. The officers made several more
attempts to convince Subject A to allow them to drive him home. He
continued to refuse and stated he would go back into the roadway. They told
him, if he returned to the intersection they would send him to the hospital.
They told him he had two options, hospital or home. After approximately ten
minutes of contact, Officer B and Officer A broke contact with Subject A. In
their statements, both officers stated, since their de-escalation attempts
during the initial contact failed, they would break contact and observe.

Officer A and Officer B immediately drove to the parking between Seattle
Family Dentistry and Sherwin-Williams. They began monitoring Subject A
and observed him return to the intersection where he was at risk of being
struck by a vehicle. Officer A began checking the MDT for available units and

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made a request via radio for “one more unit to our location.” Officer C (3J1)
was dispatched to assist.
Officer B observed a Metro Bus almost strike Subject A. They decided to
reinitiate contact before the second unit arrived. In his statement later
provided to FIT, Officer B described a brief feeling of panic because he lost
sight of Subject A and believed a bus had struck him. When he was able to
see Subject A again, he believed it was clear that they needed to remove
Subject A from the intersection.
At approximately 23:23 hours, Witness B called back to 911 and reported
that the male had returned to the intersection. As he spoke to the call-taker,
he observed the patrol car return to the intersection and the officers
reinitiate contact. He continued to observe the incident and later provided a
statement to investigators.

As the officers arrived at the intersection with their emergency lights
activated, they contacted Subject A a second time. Officer B rolled down his
window and told Subject A to go to the sidewalk. He also informed Subject
A that another police car was on the way. Subject A did not comply. Officer
A parked the patrol car at the Southeast corner of the intersection. Officer A
and Officer B approached on foot.
As they approached Subject A, Officer B repeated that another car was
coming and he told Subject A to come with them. Subject A yelled “No”
several times and turned away from the officers. He began walking south in
the northbound turn lane. Officer B reached toward Subject A, lowered his
voice and said, “Come on buddy.” When Officer B made contact with Subject
A, Subject A began screaming “No. Where are you taking me?”

Officer B took hold of Subject A’s left arm and placed it in what Officer B
later described as an escort position, “...left hand on his wrist. Right hand on
his elbow.” Officer A took hold of the right arm. Both officers described
Subject A’s reaction as “tensing” his muscles. As they escorted him out of the
street, they repeatedly explained that they needed to get out of the road.
Subject A told the officers that he would stay right there.

As they approached the sidewalk, Subject A appeared to continue to
struggle. He pushed and pulled as the officers maintained hold of his arms.

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Officer A repeatedly told Subject A that he needed to get out of the street.
Officer B said, “We just want to help you, buddy.” Subject A began to push
and pull as Officer B told him to stop fighting. He broke away from Officer A
and began to move toward the intersection. Subject A continued to yell for
help as he struggled.
To prevent Subject A from breaking free and returning to the intersection,
the officers decided to take Subject A to the ground. Officer A described the
takedown. Officer B placed his right leg behind Subject A’s left leg, while
Officer A placed his right leg behind Subject A’s right leg. Both officers
pushed him in a backwards direction to the ground.
The completion of the takedown resulted in Subject A on his back with
Officer A holding his left arm and Officer B holding the right arm. Officer A
patted Subject A’s chest while saying, “There you go. There you go. It’s ok.
It’s ok. [Subject name], it’s ok, it’s ok, breathe. Breathe. Breathe.” Subject A
yelled that he was not getting in their vehicle and that he needed an
ambulance. Officer A told Subject A that he was not getting in their car and
Officer B told him they would get an ambulance. Officer B requested an
ambulance via radio.

Subject A appeared to continue to struggle and begin to sit up. He stated, “I
never done drugs” and continued to yell for an ambulance. Subject A was
able to get to his knees and struggled to stand as Officer A and Officer B
maintained control of his arms. Officer A and Officer B pushed him back to
the ground until he was on his right side. Both officers continued to give
commands.
Subject A continued to struggle in an apparent attempt to stand up. Officer
A and Officer B were able to get him on his back. An unknown female
approached the struggle and stated, “Stop fighting them, dude. Stop
fighting them. Stop fighting them. No, you need to stop fighting them. Relax.
Relax…” As the sirens from the backing units approached, Subject A stated,
“Here come the real cops.” He continued to struggle and yell while he was
still on his back. They maintained that position until backup units arrived.

Officer D, Officer E, and Officer F assisted with getting control of Subject A.
They rolled Subject A onto his stomach. Officer G stood by and provided light
to the officers. Officer F and Officer B took control of his arms as Officer E

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and Officer D took control of his legs. Officer A had his left hand on Subject
A back as he used his right hand to assist Officer B with gaining control of
Subject A’s left arm. Officer B and Officer F held Subject A’s arms behind his
back as Officer Rogers applied the handcuffs. Subject A said “ow” several
times as the handcuffs were applied.

According to body camera footage, Subject A was on his stomach for
approximately one minute and thirty seconds during the handcuffing
process. After the handcuffs were applied, Subject A was no longer
struggling. Officers rolled Subject A onto his side into the recovery position.
At that time, the American Medical Response ambulance arrived on scene.
Officer E asked if Subject A was snoring and subsequently asked if he was
breathing. Officer F stated he could hear Subject A breathing. Body camera
video captured what sounded like snoring emanating from Subject A.
The AMR crew consisting of Emergency Medical Technician A and
Emergency Medical Technician B approached the officers with their gurney.
Officers assisted by lifting Subject A onto the gurney and removing the
handcuffs. EMT A and EMT B placed Subject A in soft restraints and placed
him into the back of their ambulance. The EMTs began evaluating Subject A
EMT A checked for a carotid pulse and later stated that he detected a
“thready” pulse of approximately 40 beats per minute. Officer B asked EMT
B if he needed Fire to respond and he replied, “I don’t think so, I think it’s
purposeful.” Officer B stayed near the back of the ambulance as Officer A
screened the incident with Sgt. A.

Officer B requested the ambulance to move out of the roadway, to the
parking lot between Sherwin-Williams and the Seattle Family Dentistry.
Officer A began the paperwork necessary for the Involuntary Treatment Act.
EMT A drove the ambulance to the parking lot as EMT B stayed in the back
with Subject A. After moving the ambulance, EMT A returned to the back of
the ambulance. Officer B returned to standing by the rear door of the
ambulance and observed the EMTs providing treatment to Subject A. EMT A
checked for the carotid pulse a second time but was unable to locate it. EMT
A advised that he could not find a pulse and stated he wasn’t breathing.
Officer B called for Fire to respond. The EMTs began performing CPR on
Subject A. Officer B updated via radio that CPR was in progress. Seattle Fire
responded and continued CPR for approximately twenty-four minutes
before declaring Subject A deceased.
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A subsequent autopsy determined the primary cause of death to be acute combined
methamphetamine and alcohol intoxication; the manner of death was ruled accidental.
As it involved an in-custody death, the FRB reviewed the Type I use of force in this case.
The FRB found that officers performed commendably; that they employed all feasible de-
escalation efforts; and that the force used was reasonable, necessary, and proportional
to the subject’s resistance. The OPA Director was present at this FRB and declined to
initiate any review.




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